          Case 3:22-cv-05246-RFL Document 58 Filed 12/07/23 Page 1 of 84




                           UNITED STATES DISTRICT COURT
     FOR THE NORTHERN DISTRICT OF CALIFORNIA - OAKLAND



Larry Golden,Pro Se Plaintiff
                                                                                    FILED
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Greenville, SC 29607                                                                DEC -7 2023
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                                                                             NORTH DISTRICT OF CAUFORNIA
                                                                                    OAKLAND OFFICE
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                                                        CIVIL CASE NO: 4:22-cv-05246-RFL
LARRY GOLDEN,

                   Plaintiff,                          JURY TRIAL DEMANDED


                      V.                               (Direct Patent Infringement),
                                                       (Infringement Under the Doctrine of
GOOGLE LLC                                             Equivalents),(Induced and Contributory
                                                       Patent Infringement),(Willful Patent
                 Defendants.                           Infringement)

                                                       December 6, 2023




               PLAINTIFF'S REOUEST FOR JUDICIAL REVIEW



        Pursuant to Rule 201 ofthe Federal Rules of Evidence, the court has the authority to take

judicial notice of an adjudicative fact that is "not subject to reasonable dispute" such that it is

"capable of accurate and ready determination by resort to sources whose accuracy cannot

reasonably be questioned." Fed. R. Evid. 201(b).

        Courts may take judicial notice of matters of record in other proceedings. Bennett v.

Medtronic, Inc., 285 F.3d 801, 803, n.2(9th Cir. 2002); United States v. S. California Edison Co.,

300 F. Supp. 2d 964,973(E.D. Cal. 2004)
         Case 3:22-cv-05246-RFL Document 58 Filed 12/07/23 Page 2 of 84




                              MEMORANDUM OF FACTS


       Plaintiff is asking the Court to take judicial notice of a related case that is currently on

appeal at the Federal Circuit, Larry Golden v. Qualcomm Incorporated CAFC No. 2023-1818

(Exhibit A)whereby the previous presiding Judge Haywood S. Gilliam, Jr. of this current ease is

accused of depriving Plaintiff of property without due process oflaw; discriminatory practices

and judicial bias; admitting not to have read Plaintiff's pleadings; and failure to be bound under

the doctrine of vertical stare decisis by the decision ofthe higher Federal Circuit in Golden v.

Google, Case No. 22-1267.

       In that case the Federal Circuit determined Google infringed Plaintiff's CMDC device

i.e., smartphone, either directly or imder the doctrine of equivalents, when the Circuit stated:"

       "Mr. Gulden's complaint includes a detailed claim chart mapping features of an accused
       product, the [] Smartphone,to independent claims from U.S. Patent Nos. 10,163,287,
       9,589,439, and 9,069,189 ... It attempts [] to map claim limitations to infringing product
       features, and it does so in a relatively straightforward maimer ... [W]e conclude that the
       district court's decision in the Google case is not correct with respect to at least the three
       claims mapped out in the claim chart. Mr. Golden has made efforts to identify exactly
       how the accused products meet the limitations of his claims in this chart...."


       Plaintiff is asking the Court to take judicial notice of April Curley, Desiree Mayon,

Ronika Lewis, Rayna Reid, Anim Aweh, and Ebony Thomas, individually and behalfofall others

similarly situated, v. Google, LLC. NDC Case No. 4:22-cv-01735-YGR (Exhibit B)

       Google has a long history and pattern of racial discrimination, and a history of sex and

sexual orientation discrimination in the workplace (the term "sexual orientation" means an

individual's actual or perceived romantic, physical or sexual attraction to other persons, or lack

thereof, on the basis of gender).
         Case 3:22-cv-05246-RFL Document 58 Filed 12/07/23 Page 3 of 84




       To date, Google does not have patents for, or the legal right to make, use, offer for sell, or

sell the patented CMDC devices (i.e., smartphones) of Golden. Also, to date, there are no public

records found by Plaintiff of Google entering into a licensing agreement with any Black and/or

African American inventor for any technology that is used by Google.

       "Google has a total of 111,911 patents globally, out of which 69,905 have been granted.
       Ofthese 111,911 patents, more than 70% patents are active. These patents belong to
       38,450 unique patent families. Out of 111,911 patents, 78,883 patents are active. United
       States ofAmerica is where Google has filed the maximum number of patents, followed
       by China and Europe(EPO). Parallelly, USA seems to be the main focused R&D center
       and is also the origin country of Google." https://insights.grevb.com/google-patents/


       Plaintiff alleged Google has a policy of never entering into a patent licensing agreement,

or purchase of patents. Blacks and/or African American inventors. Plaintiff alleged Google's

discriminatory practices extends to Blacks and/or African American inventors.




                                                              Sincerely,




                                                              Larry G(^en,Pro Se Plaintiff
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       Case 3:22-cv-05246-RFL Document 58 Filed 12/07/23 Page 4 of 84




                        CERTIFICATE OF SERVICE



      The undersigned hereby certifies that on this 6^^ day of December, 2023, a
true and correct copy ofthe foregoing "Plaintiffs Request for Judicial Review",
was served upon the following Defendant by priority "express" mail:


                         Matthew S. Warren

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Case 3:22-cv-05246-RFL Document 58 Filed 12/07/23 Page 5 of 84




                   Exhibit A
    Case 3:22-cv-05246-RFL
      Case: 23-1818         Document
                       Document: 27-1 58Page:
                                          Filed1 12/07/23   Page 6 of 84
                                                    Filed: 10/31/2023      (1 of29)




                              No: 2023-1818




UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT




        LARRY GOLDEN

               Plaintiff-Appellant


               V.



        QUALCOMM INCORPORATED
               Defendant-Appellee



    ON APPEAL FROM THE UNITED STATES DISTRICT COURT

         FOR THE NORTHERN DISTRICT OF CALIFORNIA

                         IN4:22-cv-03283-HSG

                    JUDGE HAYWOOD S. GILLIAM,JR.




     PLAINTIFF-APPELLANT'S INFORMAL PETITION FOR
             REHEARING AND REHEARING EN BANC


                       r-T'-r-V' —n
                                               LARRY GOLDEN,Pro Se
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                                               October 30, 2023
      Case 3:22-cv-05246-RFL
        Case; 23-1818         Document
                         Document: 27-1 58Page:
                                            Filed212/07/23   Page 7 of 84
                                                     Filed: 10/31/2023               (2 of 29)




                             CONTENT PAGE




THE APPELLATE COURT AND DISTRICT COURT
DEPRIVED ME OF MY PROPERTY WITHOUT DUE
PROCESS OF LAW                                                              Page 1


THE APPELLATE COURT'S DISCRIMINATORY
PRACTICES AND JUDICIAL BIAS                                             Page 8


THE U.S. DISTRICT COURT FOR THE DISTRICT
OF NORTHERN CALIFORNIA IS BOUND BY THE
DECISIONS OF THE U.S. COURT OF APPEALS FOR
THE FEDERAL CIRCUIT                                                     Page 11

   Vertical Stare Decisis: The "Smartphone"ofQualcomm                   Page 11
   Vertical Stare Decisis: The Chipset-CPU ofQualcomm                   Page 13


CONCLUSION                                                             Page 14
        Case 3:22-cv-05246-RFL
          Case: 23-1818         Document
                           Document: 27-1 58Page:
                                              Filed312/07/23   Page 8 of 84
                                                       Filed: 10/31/2023               (3 of 29)




                           TABLE OF AUTHORITIES


Western Pacific Ry. Corp. v. Western Pacific Ry. Co.,
345 U.S. 247, 73 S.Ct. 656,97 L.Ed. 986(1953)                                 Page 1

Global-Tech Appliances, Inc. v. SEB S.A., 131 S. Ct.
2060(2011)                                                                    Page 7

Suprema v. ITC(Investigation No. 337-TA-720)                                  Page 7

Motiva Patents LLC v. HTC Corporation, E.D. Texas,
9:18-cv-00179(Oct. 2019)                                                      Page 7

Dred Scott decision                                                           Page 7

Golden v. US, No. 13-307(C)                                                   Page 8

Federal Trade Commission v. Qualcomm Incorporated,
Northern District California Case 5:17-cv-00220-LHK                       Page 10

Aro Mfg. Co. V. Convertible Top Replacement Co.,377
U.S. 476(1964)                                                            Page 10

Deepsouth Packing Co. v. Laitram Corp.,406 U.S. 518
(1972)                                                                    Page 11

Dawson Chemical Co. v. Rohm and Haas Co.,448 U.S.
176(1980)                                                                 Page 11

Larry Golden v. Google LLC', CAFC Case No. 22-1267                        Page 12

Bell Atlantic Corp. v. Twombly,550 U.S. 544(2007)                         Page 12

Ashcrofiv. Iqbal, 556 U.S. 662(2009)                                      Page 12

SRIInt'I., Inc. v. Cisco Sys., Inc. Fed. Cir. 2021                        Page 15




                                           III
         Case 3:22-cv-05246-RFL
           Case: 23-1818         Document
                            Document: 27-1 58Page:
                                               Filed412/07/23   Page 9 of 84
                                                        Filed: 10/31/2023                              (4 of 29)



       Statutory authority for en banc hearings is found in 28 U.S.C. § 46(c). The proposed rule

is responsive to the Supreme Court's view in Western Pacific Ry. Corp. v. Western Pacific Ry.

Co., 345 U.S. 247,73 S.Ct. 656,97 L.Ed. 986(1953), that litigants should be free to suggest that

a particular case is appropriate for consideration by all the judges of a court of appeals.


 THE APPELLATE COURT AND DISTRICT COURT DEPRIVED ME OF
              MY PROPERTY WITHOUT DUE PROCESS OF LAW

       The District Court is the Government and the "Due Process" Clause of the Fifth

Amendment ofthe United States Constitution says to the federal government that no one shall be

"deprived of life, liberty or property without due process of law."

       The Constitution ofthe United States divides the federal government into three branches:

legislative, executive, and judicial. Article Three of the United States Constitution establishes

the judicial branch ofthe U.S. federal government. Under Article Three,the judicial branch

consists ofthe Supreme Court of the United States, as well as lower courts created by Congress.

Article Three empowers the courts to handle cases or controversies arising under federal law, as

well as other enumerated areas.


       In the United States, federal judges are judges who serve on courts established under

Article Three ofthe U.S. Constitution. They include the chiefjustice and associate justices of

the U.S. Supreme Court, circuit judges of the U.S. Courts of Appeals, district judges of the U.S.

District Courts, and judges of the U.S. Court of Intemational Trade.

        Although the Fifth Amendment"Due Process" Clause is brief, important parts of the

Supreme Court's constitutional doctrine rest on it. At the most general level, the clause reiterates

the principle of the rule of law: the government [Article Three judges] must act in accordance

with legal rules and not contrary to them.
        Case 3:22-cv-05246-RFL
          Case: 23-1818        Document
                           Document: 27-1 58 Page:
                                              Filed512/07/23    Page 10 of 84
                                                        Filed: 10/31/2023                             (5 of 29)



       A more specific application ofthe Clause is the doctrine today called "procedural due

process," which concerns the fairness and lawfulness of decision-making methods used by the

District and Circuit courts. Question: How is it possible for the Article Three Judges of this

Appellate Court to unintentionally "overlook" my entire case? It was done with purpose!

       Governmental actors [Article Three Judges] violate 'due process' when they frustrate the

fairness of proceedings, such as when a Judge fails to consider evidence to a claim(s)that

suggests Qualcomm may be guilty ofthe alleged antitrust and infringement claims, or when the

Judges are biased against Golden in this civil action.

       The Appellate Court never considered Qualcomm's patent "misuse" of extending the

scope of its patents to collect a 5% royalty fee on the price of each of my patented new,improve

upon, and use cell phones sold. This unlawful practice was determined by the United States

District Court Northern District of Califomia in Federal Trade Commission v. Qualcomm

Incorporated, as Qualcomm's anticompetitive practices; a violation of antitrust laws.

       The Appellate Court never considered the abondance ofevidence presented by me

showing 1 am the inventor ofthe new,improve upon, and use cell phone Qualcomm is illegally

to collecting a 5% royalty fee on the price of each of my patented new, cell phone sold. Until this

Court proves, or compels Qualcomm to prove it has the legal right to collect a 5% royalty fee on

the price of each of my patented new, improved upon, and useful cell phone sold, Qualcomm is

in violation of the law and this Court is complicit with Qualcomm's illegal actions, because the

Federal Trade Commission has already proven Qualcomm is illegally collecting the royalty.

        The Appellate Court never considered, by its own admission,"[t]he Court need not, and

will not, wade through the attachments", the Samsung charts that allegedly proves the direct

infringement needed for standing of induced and contributory infringement by Qualcomm.
          Case:
        Case     23-1818   Document:
             3:22-cv-05246-RFL       27-1 58 Page:
                               Document       Filed612/07/23
                                                        Filed: 10/31/2023
                                                                Page 11 of 84                          (6 of 29)



       The Appellate Court never considered evidence, by its own admission, GM's advanced

driver assistance system that allegedly directly infringes my patents for a stall, stop, and vehicle

slowdown system and Qualcomm's induced use of Qualcomm Technologies' Snapdragon

Ride™ Platform for GM's advanced driver assistance technology, which features a 5-nanometer

Snapdragon™ SA8540P SoC.

       Which means Qualcomm contributed to GM's direct infnngement with its Snapdragon

Chipset-CPUs that has no substantial non-infringing use. The Court states,"[a]lthough the

complaint did include two claim charts, the district court found those irrelevant as they only

covered products produced by two non-parties, GM and Samsung, not Qualcomm." Not true.

       The Appellate Court never considered, by its own admission, Qualcomm's Snapdragon

phone as evidence pertinent to this case to prove direct infringement by Qualcomm. The Court is

quoted as saying,"Golden included a claim chart mapping features of Qualcomm's Snapdragon

phone [Qualcomm's Smartphone for Snapdragon Insiders] to limitations in specific claims ofthe

asserted patents. Appellant's Reply Brief Appendix at 85-92. Such a submission is untimely and

will not be considered." This decision prejudice my case for my direct infringement claim.

       The Appellate Court never considered, by its own admission, the alleged direct patent

infnngement claims plead by me in this case to support my claim of induced and contributory

infnngement. I plead direct infringement of six (6)of Samsung's smartphones that "uses"

Qualcomm's Snapdragon Chipset; Google's Pixel 5 smartphone that "uses" Qualcomm's

Snapdragon Chipset; Qualcomm's Smartphone for Snapdragon Insiders that "uses" Qualcomm's

Snapdragon Chipset; and GM's advanced driver assistance system(ADAS)that "uses"

Qualcomm's Snapdragon Ride"""" Chipset. Therefore, the District Court and the Appellate Court
        Case 3:22-cv-05246-RFL
          Case:  23-1818       Document
                           Document: 27-1 58 Page:
                                              Filed712/07/23   Page 12 of 84
                                                        Filed: 10/31/2023                             (7 of 29)



determination that I have not stated a claim of direct infringement and have not adequately plead

direct infringement to support my claim that Qualcomm is unjustly enriching itself, is not true:

       "Based on Golden's failure to state a claim for patent infringement, the district court held
       that he also failed to state a claim for unjust enrichment. This court has recognized that
       "unjust enrichment is not recognized under Califomia law as a separate cause of action."
       Golden v. Intel Corp., No. 2023-1257, 2023 WL 3262948, at *2 n.3 (Fed. Cir. May 5,
       2023)(citing McBride v. Boughton, 123 Cal. App. 4th 379, 387(2004)). Because Golden
       failed to adequately plead patent infringement, we agree with the district court that he
       also failed to state plausible a claim for unjust enrichment."

       The Appellate Court never considered, by its own admission, my patented inventions

asserted in this case (e.g., my new,improved upon, and useful cell phone; my central processing

unit(CPU); and my stall, stop, and vehicle slow-down system). The Appellate Court narrowed

the scope of my patented inventions to that of a single claim limitation. The Appellate Court is

quoted as saying:

       "Golden owns various patents directed to systems for locking, unlocking, or disabling a
       lock upon the detection of chemical, radiological, or biological hazards".


       The specific patents at issue in this case for my patented "new,improved upon, and

useful cell phone" are U.S. Patents 9,589,439("the '439 patent") that includes eleven (11)

independent patent claims for the smartphone (i.e., new, improved upon, and useful "cell

phone"); 9,096,189("the '189 patent") that includes nine(9)independent patent claims for the

smartphone (i.e., new,improved upon, and useful "cell phone"); 10,163,287("the '287 patent")

that includes six(6)independent patent claims for the smartphone (i.e., new,improved upon, and

useful "cell phone"); and, 10,984,619("the '619 patent") that includes two(2)independent

patent claims and eighteen(18)dependent patent claims for the smartphone (i.e., new,improved
        Case 3:22-cv-05246-RFL
          Case:  23-1818        Document
                            Document: 27-1 58 Page:
                                               Filed812/07/23   Page 13 of 84
                                                         Filed: 10/31/2023                             (8 of 29)




upon, and useful "cell phone"). That's a combined total of forty-six (46)independent and

dependent patent claims for my patented new, improved upon, and useful "cell phone".

       That's a combined total oftwo hundred and fifty-three(253)claim limitations of the

combined total of forty-six (46)independent claims for my patented new, improved upon, and

useful "cell phone", that does not include a claim limitation for "locking, unlocking, or disabling

a lock upon the detection ofchemical, radiological, or biological hazards".

       Independent claim 1 of my '497 patent and independent claim 10 of my '752 patent does

include a lock disabling mechanism limitation for unauthorized use of my "new, improved upon,

and useful cell phone":

       "an automatic/mechanical lock disabler interconnected to the cpu and which is mounted
       to a lock on a product for receiving transmission from the cpu to lock or disable the lock
       on the product to prevent access to the product by unauthorized, untrained, and
       unequipped individuals"

       The specific patents at issue in this case for my patented "new,improved upon, and

useful cell phone" has written support in the patent specifications for a lock disabling mechanism

that locks upon detection ofthe unauthorized use of my patented "new,improved upon, and

useful cell phone":

       "a lock disabler engaged to the product to lock or disable the product's lock thereby
       preventing untrained, unauthorized and unequipped individuals from gaining access and
       entry to the product" ... "[t]he present invention pertains to anti-terrorist detection and
       prevention systems, and more particularly pertains to a disabling lock mechanism [] for
       use with products grouped together by similar characteristics in order to prevent
       unauthorized entry,[] and terrorist activity" ... "It is still yet a further objective of the
       present invention to provide a [] disabling lock system wherein the disabling lock system
       prevents the unauthorized entry, access [] ofthe products included in the several product
       groupings."
        Case 3:22-cv-05246-RFL
          Case:  23-1818       Document
                           Document: 27-1 58 Page:
                                              Filed912/07/23    Page 14 of 84
                                                        Filed: 10/31/2023                           (9 of 29)




       "Product grouping 4(monitoring & communication devices) include, but are not limited
       to, mobile communication devices,[] wireless communication devices,[] desktop
       personal computers(PCs), notebook personal computers(PCs), laptops,[] cell phones,[]
       handhelds;"

       The specific patents at issue in this case for my patented "central processing unit(CPU)"

are U.S. Patents 10,163,287("the '287 patent") that includes three(3)independent patent claims

for the "central processing unit(CPU); and, 10,984,619 ("the '619 patent") that includes two(2)

independent patent claims and eighteen(18)dependent patent claims for the "central processing

unit(CPU). That's a combined total oftwenty-three(23)independent and dependent patent

claims for my patented "central processing unit(CPU).

       That's a combined total ofsixty-one(61)claim limitations of the combined total of

twenty-three(23)independent and dependent patent claims for my patented "central processing

unit(CPU)that does not include a claim limitation for "locking, unlocking, or disabling a lock

upon the detection of chemical, radiological, or biological hazards".

       Independent claim 1 of my '497 patent and independent claim 10 of my '752 patent does

include a lock disabling mechanism limitation for my "new,improved upon, and useful cell

phone" that is "interconnected to the CPU",and "receiv[es] transmission from the CPU to lock

or disable the lock on the product". Product being my patented new,improved upon, cell phone.

       "an automatic/mechanical lock disabler interconnected to the CPU and which is mounted

       to a lock on a product for receiving transmission from the CPU to lock or disable the lock
       on the product to prevent access to the product by unauthorized, untrained, and
       unequipped individuals"

       The District Court and Appellant Court should not have a policy of blanket prohibition

against reviewing patents. Because the District Court and Appellant Court failed to accurately
          Case:
        Case    23-1818    Document:
             3:22-cv-05246-RFL       27-1 58Page:
                                Document      Filed10   Filed: Page
                                                    12/07/23   10/31/2023
                                                                    15 of 84                           (10 of 29)




review asserted patents, the Courts' actions are complicit with Qualcomm's willful blindness.

Willful Blindness basically means notice is not required for willful patent infringement.

   > In 2011, in Global-Tech Appliances, Inc. v. SEB S.A., 131 S. Ct. 2060(2011)the U.S.
       Supreme Court ruled that actual knowledge ofa patent is not required for inducement to
       infnnge. Willful blindness provided the inducement.
   > In 2015, in Suprema v. ITC(Investigation No. 337-TA-720),the Federal Circuit held that
       willful blindness is established by (1) a subjective belief of a high probability that a fact
       exists and (2)deliberate action to avoid learning that fact. In Suprema, willful blindness
       was found with less egregious facts than in Global-Tech.
   > In October, 2019 Judge Gilstrap, E.D. Texas, stated:"A well-pled claim for willful
       blindness is sufficient to state a claim for willful infringement." Motiva Patents LLC v.
       HTC Corporation, E.D. Texas,9:18-cv-00179(Oct. 2019). Judge Gilstrap's ruling was
       based on the allegation in Motiva's complaint that HTC had "a policy or practice of not
       reviewing the patents of others (including instructing its employees to not review the
       patents of others)." Gilstrap held that this allegation was sufficient to defeat HTC's
       attempt to dismiss the willful infringement claim.

       As noted above, the District Court and the Appellate Court never considered any of the

relevant facts or applicable constitutional laws implicating Qualcomm's willful blindness or

willful infnngement. Their decision not to compel Qualcomm to appear to litigate before a jury

aligns with the decision made by the Supreme Court in the 1857 Dred Scott case.

       It is without a doubt, that the 1857 Dred Scott decision is one of the most heinous and

crippling decisions on Blacks handed down by the Supreme Court. In a 7-2 decision, the

majority held that a Black person whose ancestors were imported into the United States and sold

as slaves, whether enslaved or free, could not be an American citizen, and therefore did not have

standing to sue in federal court.

       The three WHITE Circuit Judges of Lourie(age 88), Bryson (age 78), and Chen (age 55),

never considered any of my patented inventions, ofa new, improved upon, and useful cell phone;

                                                 7
        Case 3:22-cv-05246-RFL
          Case: 23-1818         Document
                           Document: 27-1 58Page:
                                              Filed11
                                                    12/07/23
                                                        Filed: Page 16 of 84
                                                               10/31/2023                         (11 of 29)




a stall, stop, and vehicle slow-down system; a central processing unit(CPU)designed for the cell

phone; or a central processing unit(CPU)designed for the stall, stop, vehicle slow-down system.

       Not once did the three WHITE Circuit Judges of Lourie (age 88), Bryson (age 78), and

Chen (age 55) mention my patented inventions in their decision to affirmed the District Court's

decision. It is my belief the three WHITE Circuit Judges are so blinded by their prejudice against

Afncan American inventors, that any pleadings I present will never be enough to be WHITE.


   THE APPELLATE COURT'S DISCRIMINATORY PRACTICES AND
                                      JUDICIAL BIAS

       For sixteen years (2007-2023), I have been largely discriminated against and subjected to

extreme, radical prejudice by the DHS,DOJ,and Federal Courts. Racism is a significant problem

within the Government Agencies and the Government Judicial System, and will continue to

persist as the agencies and judges proceed to be ignorant oftheir biases.

       In 2007-08 the DHS,after being notified for four(4) years of my intellectual property for

a new,improved upon, and useful cell phone for detecting CBRNE;DHS awarded Qualcomm

the primary contract in the DHS S&T Cell-All initiative to develop, assemble, and

commercialized the DHS new,improved upon, and usefiil cell phone for detecting CBRNE.

Qualcomm performed the work under a government contract to avoid patent infnngement

liability. There were eight(8) white-owned companies awarded, but the one Black-owned

company whose CEO owns the patent rights for the requested cell phone that detects for CBRNE

was never awarded.


       In 2013 Qualcomm,a "person" authorized to petition for inter partes review at the

PTAB, was named as a third-party defendant in the case Golden v. US, No. 13-307(C)I filed

against the United States for patent infnngement. Instead of Qualcomm petitioning the PTAB as
          Case:
        Case    23-1818    Document:
             3:22-cv-05246-RFL       27-1 58Page:
                                Document      Filed12   Filed: 10/31/2023
                                                    12/07/23   Page 17 of 84                          (12 of 29)




a "person authorized to do so, for inter paries review, the DHS and DOJ,two government

agencies that are not "persons" authorized to petition the PTAB for inter paries review. Return

Mail, Inc. v. Postal Service 868 F, 3d 1350, petitioned the PTAB on Quaicomm's behalf with

three(3) unqualified patent references [Astrin, Breed,& Mostov] that do not antedate the priority

date of my patent(s). The DHS and DOJ has never before or after, petitioned the PTAB to

institute trial against a white patent owner, and the PTAB has never before or after, instituted an

inter paries review against a white patent owner using three unqualified patent references.

       In 2019 Qualcomm was issued a notice under RCFC 14 to appear to protect its interest in

the case of Golden v. US, No. 13-307(C). Qualcomm was issued the notice because Qualcomm

develop, assemble, and commercialized my new,improved upon, and useful cell phone for

detecting CBRNE with the authorization and consent ofthe United States. The Claims Court

dropped the primary contractor in the case [Qualcomm] and redirected the case to me having to

prove my case of direct patent infringement against three private entities(Apple, Samsung, LG)

under Section 271(a) as a necessary predicate to proving direct infringement under §1498(a). The

COFC made it perfectly clear that an African American does not having standing to sue the U.S.

       In 2023, in the current case, the District Court by its own admission, never adjudicated

my case on the merits. It seems the Court immediately sided with Qualcomm and assumed

Quaicomm's defense was true and accurate simply because they are a white-owned company.

       In Larry Golden v. Qualcomm, Inc."Order Granting Motion to Dismiss"; Case 4:22-cv-
       03283-HSG Document 49 Filed 03/15/23 Page 3 of6:"[bjecause Golden neither breaks
       his allegations down into counts, nor provides a numbering system,'''... "[tjhe Court's
       challenge here is compounded because Plaintiff has attached nearly 1,200 pages of
       documents to the complaint" ... "[t]he Court need not, and will not, wade through the
       attachments to attempt to ferret out aspects ofthe claims" ... '7/ appears Plaintiff is
       asserting:(1)antitrust violations;(2) unjust enrichment; and (3) patent infringement."
        Case 3:22-cv-05246-RFL
          Case: 23-1818         Document
                           Document: 27-1 58Page:
                                              Filed13
                                                    12/07/23   Page 18 of 84
                                                        Filed: 10/31/2023                         (13 of 29)




       For instance,the complaint is numbered,and the 1,200 pages attached to the complaint

supports my allegations of Qualcomm's illegal actions. The exhibits are relevant as evidence;

   • Ex. A (234 pgs.), is a copy ofFTC v. Qualcomm, NDC Case No. 17-cv-00220-LHK
       "Finding of Fact and Conclusions of Law", is evidence Qualcomm is collecting a 5%
       royalty on the price of each of my patented new, improved upon, and useful cell phones.
       [Antitrust - "Patent Misuse"; and Direct Infringement -"Use" under Section 271(a)]
           o The United States District Court Northern District of California; Federal Trade
               Commission v. Qualcomm Incorporated,"Findings of Fact and Conclusions of
              Law" Case 5:17-cv-00220-LHK; Document 1490 Filed 05/21/19; Presiding
              United States District Judge Lucy H. Koh has concluded Qualcomm is being
              unjustly enriched from its anticompetitive practices: "Specifically, Qualcomm
              charges a 5% running royalty on handset sales ... Qualcomm's 5% royalty rate on
              the price of each phone sold is a species of unfair competition."

           o Qualcomm openly admits its violation, and does not deny collecting royalties on
             the price of each handset sold (i.e., my patented CMDC smartphones): Qualcomm
              5G NR Royalty Terms Statement:"Qualcomm will continue to offer licenses for
               OEM branded mobile handsets ... worldwide at royalty rates of4% of the selling
               price for branded single-mode handsets and 5% ofthe selling price for branded
               multi-mode handsets." https://www.qualcomm. com/content/dam/qcomm-
               martech/dm-assets/documents/qualcomm-5g-nr-royalty-terms-statement.pdf

   • Ex. B-H (187 pgs.), are copies of the seven (7) patents asserted in the case. The patents
       support my claim that 1 invented at least a new, improved upon, and useful cell phone,
       and the central processing unit designed for the new,improved upon, useful cell phone.
   • Ex. J(4 pgs.), is evidence of Qualcomm's refusal to appear to define its interest after
       receiving a notice under RCFC 14; and evidence of"knowledge" as required under
       induced and contributory infringement. There must be a showing that Qualcomm knew of
       the patent and that their actions would lead to infringement of the patent. See Aro Mfg.
       Co. V. Convertible Top Replacement Co., 377 U.S. 476(1964).
   • Ex. K 1-3(656 pgs.), demonstrates how six (6)of Samsung's smartphones directly
       infringes twenty-five(25) of my independent patent claims and how Qualcomm's
       Snapdragon Chipset-CPUs "contributes" to Samsung's phones directly infringing my
       patents. The threshold requirement for a claim of contributory infringement against
       Qualcomm is the existence of direct infringement by Samsung. This is illustrated in


                                               10
          Case:
        Case    23-1818    Document:
             3:22-cv-05246-RFL       27-1 58Page:
                                Document      Filed14   Filed: Page
                                                    12/07/23   10/31/2023
                                                                    19 of 84                         (14 of 29)



       the 656-page infringement charts of Samsung products that allegedly infringes my
       patents. Deepsouth Packing Co. v. Laitram Corp.,406 U.S. 518 (1972). In addition,
       Qualcomm's allegedly infringing Snapdragon Chipset-CPUs, that's included in the six
       (6)Samsung's smartphones I alleged directly infringes twenty-five(25)of my
       independent patent claims, are unsuited for any commercial non-infringing
       use. See Dawson Chemical Co. v. Rohm and Haas Co.,448 U.S. 176(1980).


       Therefore, it is not a true statement ofthe District Court to say I have not demonstrated

direct infringement of at least Qualcomm's biggest customer [Samsung]:"Golden has failed to

adequately plead direct infringement by Qualcomm or its customers in this case, his complaint

also fails to sufficiently plead contributory or induced infringement."


    THE U.S. DISTRICT COURT FOR THE DISTRICT OF NORTHERN
 CALIFORNIA IS BOUND BY THE DECISIONS OF THE U.S. COURT OF
                     APPEALS FOR THE FEDERAL CIRCUIT

VerticalStare Decisis: The "Smartphone" ofQualcomm
       Vertical stare decisis binds lower courts to follow strictly the decisions of higher courts

within the same jurisdiction (e.g., the Northern District of California Court must follow the

decisions of the U.S. Court of Appeals for the Federal Circuit). The Supreme Court defines

vertical stare decisis as the doctrine,"a lower court must strictly follow the decision(s) handed

down by a higher court within the same Jurisdiction".

       A court engages in vertical stare decisis when it applies precedent from a higher court.

For example, if the Northern District of California Court adhered to a previous ruling from the

United States Court of Appeals for the Federal Circuit, in Larry Golden v. Google LLC', Case

No. 22-1267, that would be vertical stare decisis.

       The Federal Circuit on 09/08/2022, in Larry Golden v. Google LLC', Case No.22-1267

determined under the pleading standards set forth in Bell Atlantic Corp. v. Twombly, 550 U.S.


                                                11
        Case 3:22-cv-05246-RFL
          Case: 23-1818         Document
                           Document: 27-1 58Page:
                                              Filed15
                                                    12/07/23
                                                        Filed: Page 20 of 84
                                                               10/31/2023                               (15 of 29)




544(2007), and Ashcroft v. Iqbal, 556 U.S. 662(2009), that the alleged smartphone either

literally infnnges or infringes under the doctrine of equivalents.

       In the Qualcomm complaint, I included detailed claim charts mapping features of

Qualcomm's Snapdragon for Insiders Smartphone,to independent claims from U.S. Patent Nos.

10,163,287, 9,589,439, and 9,069,189, in a relatively straightforward manner, the same as I did

with the smartphone in the Google case. I plead enough facts in the Qualcomm case to raise a

reasonable expectation that discovery will reveal' Qualcomm is liable for misconduct alleged.

       The Three-Judge Panel Discussion in Larry Golden v. Google LLC', Case No. 22-1267:
       "Under the pleading standards set forth in Bell Atlantic Corp. v. Twombly,550 U.S. 544
       (2007), and Ashcroft v. Iqbal, 556 U.S. 662(2009), a court must dismiss a complaint if it
       fails to allege "enough facts to state a claim to relief that is plausible on its face."
        Twombly,550 U.S. at 570 ... Iqbal, 556 U.S. at 678(citation omitted)... this court has
       explained that a plaintiff... must plead "'enough fact[s] to raise a reasonable expectation
       that discovery will reveal' that the defendant is liable for the misconduct alleged."

       Qualcomm is actually barred by issue preclusion from relitigating the issue of

Qualcomm's alleged infringing smartphone, which maps features to independent claims from

U.S. Patent Nos. 10,163,287, 9,589,439, and 9,069,189,"in a relatively straightforward manner":

       "Mr. Golden's complaint includes a detailed claim chart mapping features ofan accused
       product, the []Smartphone, to independent claims from U.S. Patent Nos. 10,163,287,
       9,589,439, and 9,069,189 ... It attempts [] to map claim limitations to infringing product
       features, and it does so in a relatively straightforward marmer ...[W]e conclude that the
       district court's decision in the Google case is not correct with respect to at least the three
       claims mapped out in the claim chart. Mr. Golden has made efforts to identify exactly
       how the accused products meet the limitations of his claims in this chart...."

       Vertical Stare Decisis bars Qualcomm from challenging whether I have plead enough

facts and provided sufficient notice to the Defendant Qualcomm of my "new,improved upon.


                                                  12
        Case 3:22-cv-05246-RFL
          Case: 23-1818         Document
                           Document: 27-1 58Page:
                                              Filed16
                                                    12/07/23   Page 21 of 84
                                                        Filed: 10/31/2023                               (16of29)




and useful cell phone". The Federal Circuit's ruling: "the complaint includes a detailed claim

chart mapping features of an accused product, the []Smartphone, to independent claims from

U.S. Patent Nos. 10,163,287,9,589,439, and 9,069,189" ... 'in a relatively straightforward

manner'". The independent claims cover my "new, improved upon, and useful cell phone".


Vertical Stare Decisis: The Chipset-CPU ofQualcomm
       The Federal Circuit on 09/08/2022, in Larry Golden v. Google LLC; Case No. 22-1267
determined under the pleading standards set forth in Bell Atlantic Corp. v. Twombly, 550 U.S.
544(2007), and Ashcroft v. Iqbal, 556 U.S. 662(2009), that the alleged infringing Qualcomm
Snapdragon Chipset-CPUs directly infringes my patented central processing units designed for
"use" with the smartphone.
       "Mr. Golden's complaint includes a detailed claim chart mapping features—Qualcomm
       Snapdragon Chipset-CPUs—ofan accused product, the [] Smartphone, to independent
       claims from U.S. Patent Nos. 10,163,287, 9,589,439, and 9,069,189 ... It attempts [] to
       map claim limitations to infringing product feature—Qualcomm Snapdragon Chipset-
       CPUs—^and it does so in a relatively straightforward manner ...[W]e eonclude that the
       district court's decision in the Google case is not correct with respect to at least the three
       claims mapped out in the claim chart. Mr. Golden has made efforts to identify exactly
       how the accused products—Smartphone that includes Qualcomm's Snapdragon
       Chipset-CPUs—meet the limitations of his claims in this chart...."

       Vertical Stare Decisis bars Qualcomm from challenging whether 1 have plead enough

facts and provided sufficient notice to the Defendant Qualcomm of my patented "central

processing units(CPUs)". The Federal Circuit's ruling:"the complaint includes a detailed claim

chart mapping features—Qualcomm Snapdragon Chipset-CPUs—ofan accused product, the []

Smartphone, to independent claims from U.S. Patent Nos. 10,163,287, 9,589,439, and

9,069,189" ... 'in a relatively straightforward manner'". The independent claims cover my

patented "new,improved upon,and useful cell phone" and my patented "CPUs".


                                                 13
        Case 3:22-cv-05246-RFL
          Case: 23-1818         Document
                           Document: 27-1 58Page:
                                              Filed17
                                                    12/07/23   Page 22 of 84
                                                        Filed: 10/31/2023                            (17 of 29)




       According to the Federal Circuit in Larry Golden v. Google LLC', Case No. 22-1267"Mr.

Golden's complaint includes a detailed claim chart mapping features—Qualcomm Snapdragon

Chipset-CPUs—ofan accused product, the [] Smartphone, to independent claims from U.S.

Patent Nos. 10,163,287,9,589,439, and 9,069,189 ... It attempts [] to map claim limitations to

infringing product features—Qualcomm Snapdragon Chipset-CPUs—and it does so in a

relatively straightforward manner ...[W]e conclude that the district court's decision in the

Google case is not correct with respect to at least the three claims mapped out in the claim chart.

Mr. Golden has made efforts to identify exactly how the accused products—Smartphone that

includes Qualcomm's Snapdragon Chipset-CPUs—meet the limitations of his claims in this

chart...."



                                        CONCLUSION

       I submit that the Federal Circuit has deepened a discriminatory, apparently bias decision

of the District Court under review, not cured one. Granting the Petition in this case will correct

preposterous notions that 1 have submitted pleadings that are inadequate. Granting the Petition

allows the Court to examine the anti-innovator tilt in Federal Circuit's decision making.

       This petition will contrast the Federal Circuit and the District Court's anything-

goes/nothing-to-see-here approach when the Courts' proceedings are infected with actual bias

against me, and other African American patentees. This actual bias means the Federal Circuit

and the District Court has a predisposition to decide the matter otherwise than with an impartial

and unprejudiced mind.

       The Appellate Court cannot see the hand writing on the wall when the Court's back is

already against it. As long as the Court is in disbelief that an African American is the inventor of

the smartphone (i.e., new,improved upon, and useful "cell phone"), the Court will never be able

                                                 14
         Case 3:22-cv-05246-RFL
           Case: 23-1818         Document
                            Document: 27-1 58Page:
                                               Filed18
                                                     12/07/23
                                                         Filed: Page 23 of 84
                                                                10/31/2023                              (18 of 29)



to adjudicate this case fairly because of its inability to be unbiased and its inability to treat me

equal, fair, and just. I don't see the Court getting pass this issue, therefore, my demand for a jury

trial is only fair. Adjudicating my case without a jury prejudices me.

        In 2010,1 begin negotiating a licensing agreement with Qualcomm for my patented

inventions. After Qualcomm agreed not to use or exploit the information I shared with them,

Qualcomm backed away from the negotiations and continued to make, use, offer to sell, and sell

my patented inventions, 35 U.S.C. § 271(a); induce, 35 U.S.C. § 271(b); and contribute, 35

U.S.C. § 271(c)to the infringement of my patented inventions; while "tying"[Antitrust

violation] my patented inventions and collecting a 5% royalty [Patent "Misuse"] on the price of

each [new,improved upon, and useful cell phone—35 U.S.C. § 101] handset sold without

authorization or legal right to do so, 35 U.S.C. § 271(a); resulting in the deliberate or intentional

"willful" infringement, SRllnt'L, Inc. v. Cisco Sys., Inc. Fed. Cir. 2021, and Qualcomm's

"unjust enrichment". United States District Court Northern District of California; Federal Trade

Commission v. Qualcomm Incorporated, Case 5:17-cv-00220-LHK; Dkt. 1490 Filed 05/21/19].

        How is it possible for the Courts to unintentionally "overlook" my entire case? The

Appellate and District Courts' opinions only mimics Qualcomm's defense.


                                                        Sincerely,



                                                       ^^ry Gol^n,Pro Plaintiff
                                                        740 Woodruff Rd.,#1102
                                                        Greenville, SC 29607

                                                       (H)8642885605
                                                       (M)8649927104
                                                        Email: atpg-tech@charter.net


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       Case 3:22-cv-05246-RFL
         Case: 23-1818         Document
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                                             Filed19
                                                   12/07/23
                                                       Filed: Page 24 of 84
                                                              10/31/2023              (19 of 29)




                     CERTIFICATE OF COMPLIANCE


      The undersigned hereby certifies that on this SO^*^ day of October, 2023,that

Plaintiff-Appellant's Informal Petition for Rehearing and Rehearing En Banc

complies with FRAP Rule 40(b)(2). The number of pages does not exceed 15.




                                             Sincerely,




                                             Larry Golden,Pro Se Plaintiff
                                             740 WoodruffRd.,#1102

                                             Greenville, SC 29607
                                             (H)8642885605
                                             (M)8649927104
                                             Email: atpg-tech@charter.net




                                        16
       Case 3:22-cv-05246-RFL
         Case: 23-1818         Document
                          Document: 27-1 58Page:
                                             Filed20
                                                   12/07/23   Page 25 of 84
                                                       Filed: 10/31/2023             (20 of 29)



                           CERTIFICATE OF SERVICE



      The undersigned hereby certifies that on this 30^*^ day of October, 2023, a
true and correct copy ofthe foregoing "Plaintiff-Appellant's Informal Petition for
Rehearing and Rehearing En Banc'\ was served upon the following Defendant by
priority "express" mail:


                                  John Allen Yates

                                   Kyrie Cameron
                           PATTERSON + SHERIDAN LLP

                            24 Greenway Plaza, Suite 1600
                                 Houston, TX 77046

                                 Tel: 713-623-4844

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                                       740 Woodruff Rd.,#1102

                                       Greenville, South Carolina 29607
                                       atpg-tech@charter.net
                                       864-288-5605




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                                      Filed112/07/23    Page 27 of 84
                                                Filed: 10/31/2023       (22 of 29)




             Note: This disposition is nonprecedential.


           niteij States Court of Appeals:
              for tfje jFeberal Circuit

                        LARRY GOLDEN,
                        Plaintiff-Appellant

                                 V.



                QUALCOMM INCORPORATED,
                    Defendant-Appellee


                             2023-1818



         Appeal from the United States District Court for the
     Northern District of California in No. 4:22-cv-03283-HSG,
     Judge Haywood S. Gilliam, Jr.


                     Decided: October 10, 2023


         Laery Golden, Greenville, SC, pro se.

         John Allen Yates, Patterson & Sheridan LLP, Hou
     ston, TX, for defendant-appellee. Also represented by
     Kyrie Cameron.



         Before LOURIE, Bryson, and Chen, Circuit Judges.
     Per Curiam.
  Case:
Case     23-1818    Document:
     3:22-cv-05246-RFL        27-2 58 Page:
                        Document       Filed212/07/23
                                                 Filed: 10/31/2023
                                                         Page 28 of 84   (23 of 29)




                             GOLDEN V. QUALCOMM INCORPORATED




         Larry Golden appeals from an order of the United
     States District Court for the Northern District of California
     dismissing his antitrust, patent infringement, and unjust
     enrichment claims. Golden v. Qualcomm, Inc., No. 22-CV-
     03283, 2023 WL 2530857(N.D. Cal. Mar. 15, 2023)("Deci
     sion"). For the following reasons, we affirm.
                            Background

         Golden owns various patents directed to systems for
     locking, unlocking, or disabling a lock upon the detection of
     chemical, radiological, or biological hazards. The specific
     patents at issue in this case are U.S. Patents 9,589,439
     ("the '439 patent"), 9,096,189 ("the '189 patent"),
     10,163,287 ("the '287 patent"), 10,984,619 ("the '619 pa
     tent"). Appellant's Br. at 2. On several previous occasions.
     Golden has unsuccessfully asserted infringement of those
     patents against other defendants. See, e.g., Golden v. Apple
     Inc., No. 2023-1161, 2023 WL 3400595 (Fed. Cir. May 12,
     2023); Golden v. Intel Corp., No. 2023-1257, 2023 WL
     3262948 (Fed. Cir. May 5, 2023); Golden v. United States,
     No. 2022-1196, 2022 WL 4103287(Fed. Cir. Sept. 8, 2022).
         Golden filed the present suit against Qualcomm Inc.
     ("Qualcomm") on June 6, 2022. The district court inter
     preted the complaint, which included nearly 1,200 pages of
     attachments, as alleging (1) patent infringement,(2) anti
     trust violations, and (3) unjust enrichment. Decision at *2.
     After Qualcomm moved to dismiss Golden's complaint for
     failure to state a claim under Rule 12(b)(6) of the Federal
     Rules of Civil Procedure, the district court granted the mo
     tion without leave to amend. Decision at *4. Golden ap
     peals. We have jurisdiction under 28 U.S.C. § 1295(a)(1).
                             Discussion

         This court applies the law of the regional circuit when
     reviewing a motion to dismiss. In re Bill of Lading Trans
     mission & Processing Sys. Pat. Litig., 681 F.3d 1323, 1331
     (Fed. Cir. 2012). The Ninth Circuit reviews challenges to
Case 3:22-cv-05246-RFL
  Case:  23-1818       Document
                   Document: 27-2 58 Page:
                                      Filed312/07/23    Page 29 of 84
                                                Filed: 10/31/2023       (24 of 29)




     GOLDEN V. QUALCOMM INCORPORATED




     a dismissal for failure to state a claim under Rule 12(b)(6)
     de novo. Decker v. Advantage Fund, Ltd., 362 F.Sd 593, 595
     (9tti Cir. 2004).
         Rule 12(b)(6) requires "well-pleaded facts, not legal
     conclusions, that plausibly give rise to an entitlement to
     relief." Whitaker v. Tesla Motors, Inc., 985 F.3d 1173, 1176
     (9th Cir. 2021)(citing Be//A/Z. Corp. v. Twombly, 550 U.S.
     544, 570(2007); Ashcroft v. Iqbal, 556 U.S. 662,679(2009)).
         Because Golden appeals the district court's dismissal
     as to each of his (1) patent infringement,(2) antitrust vio
     lation, and (3) unjust enrichment claims, we discuss each
     issue in turn.

                                  I

         Regarding patent infringement, although a plaintiff
     "need not prove its case at the pleading stage" and "is not
     required to plead infringement on an element-by-element
     basis," it "cannot assert a plausible claim for infringement
     under the Iqbal!Twombly standard by reciting the claim el
     ements and merely concluding that the accused product
     has those elements." Bot M8 LLC v. Sony Corp. of Am., 4
     F.4th 1342, 1352—53 (Fed. Cir. 2021) (internal citations
     and quotations omitted).
         The district court here found that Golden failed to ade
     quately plead (1) direct infringement, (2) contributory in
     fringement, or (3)induced infringement. Decision at *3.
         Concerning direct infringement, the district court
     faulted Golden for failing to explain what Qualcomm prod
     uct supposedly infringed the asserted patents, or how. Id.
     Although the complaint did include two claim charts, the
     district court found those irrelevant as they only covered
     products produced by two non-parties, GM and Samsung,
     not Qualcomm. Id.
        On appeal. Golden argues that he "illustrates how
     Qualcomm is infringing Plaintiffs patented . . . devices"
  Case:
Case    23-1818    Document:
     3:22-cv-05246-RFL       27-2 58 Page:
                       Document       Filed412/07/23
                                               Filed: 10/31/2023
                                                       Page 30 of 84   (25 of 29)




                              GOLDEN V. QUALCOMM INCORPORATED




     and provides several technical specification tables and fig
     ures relating to Qualcomm's "Snapdragon" chipset. Appel
     lant's Br. at 11—26. Qualcomm responds that Golden added
     new factual allegations in his opposition and reply brief at
     the district court, as well as in his opening brief on appeal,
     that were not included in his district court complaint. Ap
     pellee's Br. at 23. Qualcomm further argues that even if
     those belated arguments are considered, they still do not
     state a plausible direct infringement claim. Id.
         We agree with the district court that Golden's com
     plaint failed to sufficiently plead a claim for direct infringe
     ment. It failed to clearly identify which specific claims of
     the asserted patents are being infringed. Furthermore,
     Golden's complaint failed to clearly identify which Qual
     comm products infringe the asserted patents. To the ex
     tent that references in the complaint can be read to imply
     that Qualcomm's "phone for Snapdragon Insiders" and/or
     "Snapdragon Ride Platform" are the alleged infringing
     products, S.A. 40—42, the complaint did not adequately ex
     plain how those products infringe the asserted patent
     claims. As the district court noted. Golden included two
     claim charts in his complaint. Decision at *3. However,
     these claim charts only reference products made by two
     non-parties, GM and Samsung, not products made by Qual
     comm,the accused infringer in this case.
         Golden argues that the claim charts in this complaint
     are enough to adequately plead patent infringement be
     cause they "mirror" a claim chart presented in a previous
     case. Golden v. Apple Inc., No. 2022-1229, 2022 WL
     4103285 (Fed. Cir. Sept. 8, 2022). Appellant's Br. at 2.
     However, Golden's complaint contains no such reliance on
     that previous claim chart, neither directly nor through in
     corporation by reference. Such a reference on appeal is im
     proper, as a complaint must include "enough facts to state
     a claim to relief that is plausible on its face." Twombly, 550
     U.S. at 570.
Case 3:22-cv-05246-RFL
  Case:  23-1818       Document
                   Document: 27-2 58 Page:
                                      Filed512/07/23    Page 31 of 84
                                                Filed: 10/31/2023       (26 of 29)




     GOLDEN V. QUALCOMM INCORPORATED




         Moreover, Golden v. Apple Inc. provides no help in this
     context because this court explicitly stated there that "[w]e
     express no opinion as to the adequacy of the complaint or
     claim chart except that it is not facially frivolous." Golden
     V. Apple Inc., No. 2022-1229, 2022 WL 4103285, at *2(Fed.
     Cir. Sept. 8, 2022). We made clear that "the district court
     should allow the complaint to be filed and request service
     of process;" however,"[o]ur decision [did] not preclude sub
     sequent motions to dismiss by the defendant for failure to
     state a claim." Id. We thus agree with the district court
     that Golden failed to adequately plead direct infringement
     by Qualcomm or its customers, as his complaint does not
     include allegations beyond the identity of the defendant,
     implied references to the alleged infringing devices, and
     the alleged infringed-upon patents.^ Decision at *2-3; see
     also Golden u. Apple, No. 20-cv-04353, 2021 WL 5074739
     at *2, aff'd as to that holding. No. 22-1229, 2022 WL
     4103285 (Fed. Cir. Sept. 8, 2022).
         Because Golden has failed to adequately plead direct
     infringement by Qualcomm or its customers in this case,
     his complaint also fails to sufficiently plead contributory or
     induced infringement. See Deepsouth Packing Co. v.
     Laitram Corp., 406 U.S. 518 (1972). We thus agree with



         ^ For the first time in this case, in a supplemental
     appendix attached to his Appellant's Reply Brief, Golden
     included a claim chart mapping features of Qualcomm's
     Snapdragon phone to limitations in specific claims of the
     asserted patents. Appellant's Reply Brief Appendix at 85-
     92. Such a submission is untimely and will not be consid
     ered. A complaint must include "enough facts to state a
     claim to relief that is plausible on its face." Twombly, 550
     U.S. at 570; see also Braun Inc. v. Dynamics Corp. of Am.,
     975 F.2d 815, 821 (Fed. Cir. 1992)("We generally will not
     consider issues that were not presented in the district
     court."(internal citations omitted)).
  Case:
Case     23-1818    Document:
     3:22-cv-05246-RFL        27-2 58 Page:
                        Document       Filed612/07/23
                                                 Filed: 10/31/2023
                                                         Page 32 of 84   (27 of 29)




                              GOLDEN V. QUALCOMM INCORPORATED




     the district court that "[Golden] fails to plausibly or ade
     quately plead patent infringement." Decision at *2.
                                  II

         A party seeking to bring a private antitrust action must
     establish antitrust injury. American Ad Mgmt.,Inc. v. Gen.
     Tel. Co. ofCal, 190 F.Sd 1051, 1054 & n.3 (9th Cir. 1999);
     Cargill, Inc. v. Monfort of Colorado, Inc., 479 U.S. 104, 110
     n.5 (1986). To plead antitrust injury, a party must allege
     that it suffered the suffered the type of injury that anti
     trust laws were designed to prevent. American Ad Mgmt.,
     190 F.Sd at 1055, 1057. The Supreme Court has identified
     five factors for determining whether a plaintiff who has
     borne an injury has antitrust standing: (1) the nature of
     the plaintiffs alleged injury; that is, whether or not it was
     the type the antitrust laws were intended to forestall, (2)
     the directness of the injury,(3) the speculative measure of
     the harm,(4) the risk of duplicative recovery, and (5) the
     complexity in apportioning damages. Id. at 1054(summa
     rizing the factors identified in Associated Gen. Contractors
     of California, Inc. v. California State Council of Carpenters,
     459 U.S. 519 (1983)). Although no single factor is disposi
     tive, id. at 1055 (citing i?.C. Dick Geothermal Corp. v. Ther-
     mogenics. Inc., 890 F.2d 139, 146(9th Cir.1989)(en banc)),
     the injured party must "be a participant in the same mar
     ket as the alleged malefactors," Bhan v. NME Hosps., Inc.,
     772 F.2d 1467, 1470(9th Cir. 1985){citing Associated Gen.
     Contractors, 459 U.S. at 538-39).
         The district court found Golden's antitrust claims to be
     frivolous based on his failure to plead antitrust standing.
     Decision at *2. The court found that Golden did not allege
     that he is a participant in the same market as Qualcomm
     or that he suffered antitrust injury in that market. Id. Ra
     ther, the court found that Golden failed to allege the con
     tours of the relevant market whatsoever. Id.

         On appeal. Golden argues that the district court misin
     terpreted his antitrust injury claim by discounting the
Case 3:22-cv-05246-RFL
  Case;  23-1818        Document
                    Document: 27-2 58 Page:
                                       Filed712/07/23    Page 33 of 84
                                                 Filed: 10/31/2023       (28 of 29)




     GOLDEN V. QUALCOMM INCORPORATED




     evidentiary value provided by Federal Trade Commission
     V. Qualcomm Inc., 411 F. Supp. 3d 658, 675 (N.D. Cal.
     2019), rev'd and vacated, 969 F.Sd 974 (9th. Cir. 2020) re
     garding a running royalty rate charged by Qualcomm. Ap
     pellant's Br. at 5-6. Golden also argues that the district
     court did not give adequate weight to his "tying" arrange
     ment arguments. Id. at 7. Qualcomm responds that (1)
     Golden's antitrust claims are time-barred,(2) Golden failed
     to adequately plead his participation in the same market
     as Qualcomm,and (3) Golden failed to adequately plead in
     jury suffered in that market. Appellee's Br. at 1-1^18.
         Although Golden's complaint contains general allega
     tions that Qualcomm's activities "substantially affected the
     flow of interstate commerce," S.A. 23, it fails to allege that
     Golden is a participant in the same market as Qualcomm.
     In fact, Golden's complaint seems to allege that he is not a
     participant in the same market as Qualcomm. S.A. 36
     ("Qualcomm's anticompetitive practices has [sic] re
     strained Plaintiff from entering the market to collect roy
     alties on his patented inventions."). Moreover, Golden's
     complaint fails to adequately address his injury's direct
     ness, speculative nature, or complexity in apportioning
     damages. Instead, the complaint alleges injury only in a
     conclusory fashion. See, e.g., S.A. 36 ("Qualcomm's anti
     competitive practices has [sic] restrained Plaintifffrom en
     tering the market to collect royalties on his patented
     inventions. Plaintiff is entitled to collect damages for any
     unlicensed use of his inventions. Damages are generally
     calculated based on lost profits Plaintiff suffered as a result
     of the use."). Although Golden's complaint seems to refer
     ence patent infringement as the purported injury in this
     way, we have determined that Golden failed to properly
     plead patent infringement, supra.
         To the extent that Golden attempts to premise his an
     titrust claim on a barrier to entry, we agree with the dis
     trict court that this is "fatally implausible," as Golden "is
     free to license his patents to whoever wants to license
Case 3:22-cv-05246-RFL
  Case;  23-1818       Document
                   Document: 27-2 58 Page:
                                      Filed812/07/23    Page 34 of 84
                                                Filed: 10/31/2023       (29 of 29)




                              GOLDEN V. QUALCOMM INCORPORATED




     them, but [Golden's conclusory] theory does not state a vi
     able antitrust claim." Decision at *2. Golden's arguments
     on appeal explaining the limited relevance of a district
     court case that was subsequently reversed and vacated,
     and clarif5dng his tying claim, do not remedy the insuffi
     ciency of his pleading. We thus agree with the district
     court that Golden has failed to plausibly plead an antitrust
     claim.

                                  Ill

         Based on Golden's failure to state a claim for patent
     infringement, the district court held that he also failed to
     state a claim for unjust enrichment. This court has recog
     nized that "unjust enrichment is not recognized under Cal
     ifornia law as a separate cause of action." Golden v. Intel
     Corp., No. 2023-1257, 2023 WL 3262948, at *2 n.3 (Fed.
     Cir. May 5, 2023) (citing McBride v. Boughton, 123 Cal.
     App. 4th 379, 387 (2004)). Because Golden failed to ade
     quately plead patent infringement, we agree with the dis
     trict court that he also failed to state plausible a claim for
     unjust enrichment.
                             Conclusion

         We have considered Golden's remaining arguments hut
     find them unpersuasive. For the foregoing reasons, the or
     der of the district court is affirmed.
                            AFFIRMED
Case 3:22-cv-05246-RFL Document 58 Filed 12/07/23 Page 35 of 84




                   Exhibit B
      Case
      Case 3:22-cv-05246-RFL
           3:22-cv-01735-AMO Document
                              Document58
                                       43 Filed
                                           Filed12/07/23
                                                 09/15/22 Page
                                                           Page36 of 49
                                                                lot  84




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16                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
17

18    APRIL CURLEY,DESIREE MAYON,                     CASE NO:4:22-cv-01735-YGR
      RONIKA LEWIS,RAYNA REID, ANIM
19    AWEH,and EBONY THOMAS,individually              SECOND AMENDED COMPLAINT
      and hehalf of all others similarly situated.
20                                                    Class Action
                     Plaintiff,
21                                                    Jury Trial Demanded
              V.

22
      GOOGLE,LLC,
23
                     Defendant.
24

25                                SECOND AMENDED COMPLAINT

26                                          CLASS ACTION




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       Case 3:22-cv-01735-AMO
            3:22-cv-05246-RFL Document
                               Document58
                                        43 Filed
                                            Filed12/07/23
                                                  09/15/22 Page
                                                           Page37 of49
                                                                2 of 84




            Plaintiffs April Curley ("Curley"), Desiree Mayon ("Mayon"), Ronika Lewis ("Lewis"),

     Rayna Reid ("Reid"), Anim Aweh("Aweh"), and Ebony Thomas("Thomas")(collectively,

     "Plaintiffs"), individually and on behalf of all others similarly situated, by and through their

     attorneys, Ben Crump Law,PLLC,Stowell & Friedman, Ltd., and Sani Law, APC,hereby file

     this Second Amended Complaint against Defendant Google, LLC ("Defendant" or "Google") and

     in support state as follows:

8                                       NATURE OF THE ACTION

9            1.     Google famously adopted "don't be evil" as a core value in its early days. Yet it
10
     has grown into one ofthe world's largest corporate behemoths, Google has practiced one of this
11
     nation's oldest evils—race discrimination.
12
             2.     Pursuant to its strong, racially biased corporate culture, Google is engaged in a
13

     pattern and practice of systemic race discrimination against its African American and Black
14

15   employees and job applicants. Google's centralized leadership, which is nearly devoid of Black

16   representation, holds biased and stereotypical views about the abilities and potential of Black

     professionals. As a result, and pursuant to company-wide discriminatory policies and practices,
18
     Google refuses to hire extraordinarily qualified Black job applicants, and subjects the few Black
19
     employees it does hire to wildly differential treatment. Google assigns Black professionals to
20
     lower-level roles, pays them less, unfairly rates their performance, and denies them advancement
21

22
     and leadership roles because of their race. Black professionals at Google face a racially hostile

23   work environment and suffer retaliation if they dare to challenge or oppose the company's

24   discriminatory practices. As a result. Black employees at Google earn and advance less than non-
25
     Black employees and suffer higher rates of attrition.
26


                                              SECOND AMENDED
                                                 COMPLAINT
                                                    -2-
      Case
      Case 3:22-cv-05246-RFL
           3:22-cv-01735-AMO Document
                              Document58
                                       43 Filed
                                           Filed12/07/23
                                                 09/15/22 Page
                                                           Page38 of49
                                                                3 of 84




 1          3.     Plaintiffs have been harmed by Google's racially hostile work environment and
2
     company-wide discriminatory practices. Due to its abysmal representation of Black professionals
3
     since its founding and growing public awareness of its lack of commitment to genuine diversity
4
     and inclusion, Google hired Plaintiff Curley in 2014 to expand its outreach to Black college
5
     students. Like other Black professionals, including Plaintiffs Mayon, Lewis, and Reid, Google
6

7
     placed Curley in a lower job grade and title than her work and responsibilities warranted and

8    denied her pay and promotion opportunities because of her race. Plaintiffs Curley, Mayon, Lewis,

9    Reid and other Black professionals were often pigeon-holed into dead-end jobs—^with less
10
     visibility, lower pay, and no advancement opportunities.
11
            4.      As Curley brought talented, qualified Black candidates to Google, she discovered
12
     Google did not really care about diversity and equal employment opportunities but sought only to
13

     burnish its public image for marketing purposes. Google wanted Curley, as an African American
14

15   woman,to quietly put on a good face for the company and toe the company line. But Curley was

16   unwilling to be used as a mere marketing ploy. Curley was a champion for Black employees and

     Black students; she vocally opposed and called for reform of the barriers and double standards
18
     Google imposed on Black employees and applicants. In response to her advocacy for herself and
19
     other Black employees subjected to Google's discriminatory practices, Google unlawfully
20
     marginalized, undermined, and ultimately terminated Curley because of her race and her

22   protected activity. Consistent with Google's retaliation against Curley for speaking out against
23   the company's discrimination, Google similarly targeted Plaintiffs Mayon, Lewis and Reid for

24   reporting their own discriminatory treatment.
25

26


                                            SECOND AMENDED
                                               COMPLAINT
                                                  -3 -
      Case 3:22-cv-01735-AMO
           3:22-cv-05246-RFL Document
                              Document58
                                       43 Filed
                                           Filed12/07/23
                                                 09/15/22 Page
                                                           Page39 of49
                                                               4 of 84




 1          5.      Like many ofthe talented Black candidates Curley presented to Google, Plaintiffs
2
     Aweh and Thomas experienced Google's discriminatory hiring practices first-hand. Despite their
3
     outstanding credentials and experience, Google refused them employment because of their race.
4
     Indeed, after Plaintiff Thomas successfully completed a rigorous application and interview
5
     process, she was rejected as not a "cultural fit" or "Googly" enough, a racial dog whistle that is
6

7
     code for race discrimination. Aweh was similarly denied over 10 jobs for which she was well

8    qualified.

9           6.      Plaintiffs bring this action on behalf of themselves and a class of current and
10
     former Black Google employees and rejected applicants in order to hold Google accountable for
11
     its systemic race discrimination, to redress Google's discrimination against Black professionals
12
     across the country, and to achieve necessary reforms and injunctive relief to end Google's
13

     discriminatory employment practices and provide equal opportunities for all Google employees.
14

15                                    JURISDICTION AND VENUE

16          7.      Plaintiffs' claims arise under 42 U.S.C. § 1981, Title VII of the Civil Rights Act of

     1964, as amended,42 U.S.C. § 2000e, et seq.("Title VII"), and this Court has jurisdiction over
18
     this matter pursuant to 28 U.S.C. §§ 1331, 1332, and 1343. This Court has supplemental
19
     jurisdiction over Plaintiffs' state-law claims under 28 U.S.C. § 1367 because they arise out of the
20
     same nucleus of operative facts.

22          8.      Venue is proper in the Northern District of California pursuant to 28 U.S.C.
23   § 1391(b) because Google resides and maintains its principal place of business and headquarters

24   in this District and the practices challenged by this lawsuit were issued in this District.
25


26


                                              SECOND AMENDED
                                                 COMPLAINT
                                                    -4-
       Case 3:22-cv-01735-AMO
            3:22-cv-05246-RFL Document
                               Document58
                                       43 Filed
                                           Filed12/07/23
                                                 09/15/22 Page
                                                           Page40 of49
                                                               5 of 84




1                                                PARTIES

2
            9.      Google, LLC is one ofthe largest companies in the world. Google develops and
3
     sells technology products and services. Google services generated over $257 billion in revenue in
4
     2021.' Google was originally incorporated as Google Inc. but in a 2015 corporate restructuring
5
     converted to an LLC. Google is now a wholly-owned subsidiary of XXVI Holdings, Inc., which
6

>7   is incorporated in Delaware with a principal place of business in Mountain View, California.

8    Google's publicly traded ultimate parent company. Alphabet Inc., has a market capitalization of

9    over $1.7 trillion as of this filing, placing it third among the most valuable companies in America
10
     and fourth globally.
11
             10.    Google maintains its corporate headquarters at 1600 Amphitheatre Parkway,
12
     Mountain View, California. Google employs over 21,000 employees at its corporate headquarters,
13

     and tens of thousands of employees across the United States.
14

15           11.    Plaintiff April Curley is an African American woman and was employed by

16   Google as a University Programs Specialist in New York City, New York from 2014 until she

     was unlawfully terminated in September 2020. Throughout her employment, Curley worked
18
     diligently and performed at a high level for Google. Nonetheless, pursuant to Defendant's
19
     nationwide pattern or practice of race discrimination and discriminatory employment practices,
20
     Google paid Curley lower wages and denied her advancement opportunities because of her race,

22   and subjected her to a hostile work environment and retaliation.
23

24


25
     'Alphabet Inc., Form 10-K at 32(Feb. 2, 2022),
26   https://www.sec.gov/ix?doc=/Archives/edgar/data/l652044/000165204422000019/goog-20211231.htm

                                             SECOND AMENDED
                                                COMPLAINT
                                                   -5 -
           3:22-cv-05246-RFL Document
      Case 3:22-cv-01735-AMO Document58
                                      43 Filed
                                          Filed 12/07/23
                                                09/15/22 Page
                                                         Page41  of49
                                                              6 of  84




1           12.    Plaintiff Desiree Mayon is an African American woman and was employed by
2
     Google as a Technical Program Manager from August 2019 until she was unlawfully terminated
3
     in September 2021. Throughout her employment, Mayon worked diligently and performed at a
4
     high level for Google. Nonetheless, pursuant to Defendant's nationwide pattem or practice of race
5
     discrimination, Google denied Mayon compensation and advancement opportunities because of
6

 y   her race, and subjected her to a hostile work environment and retaliation, among other things.

8    Google also subjected Mayon to discrimination and retaliation due to her sex and disability.

9           13.     Plaintiff Ronika Lewis is an African American woman who has been employed at
10
     Google as a Senior Program Manager in the Mountain View, Califomia headquarters since
11
     February 2020. Throughout her employment, Lewis has worked diligently and performed at a
12
     high level for Google. Nonetheless, pursuant to Defendant's nationwide pattem or practice of race
13

     discrimination, Google has denied Lewis compensation and advancement opportunities because
14

15   of her race, and subjected her to a hostile work environment and retaliation.

16          14.     Plaintiff Rayna Reid is an African American woman and was employed by Google

     as a Staffmg Channel Specialist in Austin, Texas from October 2018, until she was unlawfully
18
     terminated in January 2020. Throughout her employment, Reid worked diligently and performed
19
     at a high level for Google. Nonetheless, pursuant to Defendant's nationwide pattem or practice of
20
     race discrimination, Google denied Reid compensation and advancement opportunities because of

22   her race, and subjected her to a hostile work environment and retaliation.
23          15.     Plaintiff Anim Aweh is an African American woman who applied for employment

24   at Google in November 2021 and thereafter, but was denied jobs for which she was well qualified

     because of her race and pursuant to Google's discriminatory hiring practices.
26


                                            SECOND AMENDED
                                               COMPLAINT
                                                  -6-
           3:22-cv-05246-RFL Document
      Case 3:22-cv-01735-AMO Document58
                                      43 Filed
                                          Filed 12/07/23
                                                09/15/22 Page
                                                         Page42  of49
                                                              7 of  84




1           16.    Plaintiff Ebony Thomas is an African American woman who applied for

^ employment at Google in April 2021 and thereafter, but was denied jobs for which she was well
3
     qualified because of her race and pursuant to Google's discriminatory hiring practices.
4
                                      FACTUAL ALLEGATIONS
5
     Google Systematically Discriminates Against Black Employees
6
            17.     Google is engaged in a nationwide pattern or practice of intentional race
7

 g   discrimination and maintains employment policies and practices that have a disparate impact
9    against Black employees and job applicants across the United States.

10          18.     Google's overwhelmingly non-Black executives hold racially biased, stereotypical,
11
     and harmful views of Black employees and employment candidates. Indeed, the California
12
     Department of Fair Employment and Housing is currently investigating Google for its treatment
13
     of Black female employees.^
14

            19.     Google's racially biased corporate culture and discriminatory practices emanate
15

15   from but extend far beyond its California headquarters. Pursuant to discriminatory company-wide

17   policies and practices, Google favors white men and hires few Black employees and assigns the

     few Black employees it hires into lower-paying, lower-prestige roles with fewer opportunities for
19
     advancement than Google's non-Black employees.
20
            20.     When Google hired Plaintiff Curley in 2014, for instance, only 628 of its over
21
     32,000 employees—1.9%—identified as Black or African American. At that time, Google had

22   only one Black or African American top-level executive out of 25. Over the next two years
24   Google added 5 white top-level executives, but the African American count remained at one. By

25
     ^ https://www.nbcnews.com/news/nbcblk/califomia-investigates-googles-treatment-black-women-
26   workers-rcna9154

                                            SECOND AMENDED
                                               COMPLAINT
                                                      -7-
        Case 3:22-cv-01735-AMO Document58
             3:22-cv-05246-RFL Document 43 Filed
                                            Filed 12/07/23
                                                  09/15/22 Page
                                                           Page43
                                                                8 of
                                                                   of49
                                                                      84




 1    2020, despite the heroic and uphill efforts of people like Plaintiff Curley, the overall
2
      demographics had scarcely budged. Under intense public scrutiny to address its abysmal
3
      underrepresentation of African Americans in the wake ofthe murder of George Floyd and
4
      ensuing national racial reckoning, Google made concerted, public-relations-driven efforts to
5
      recruit Black employees. As of2021, Google's workforce inched up to a dismal 4.4% "Black+."^
6

 <7   This seeming improvement still pales by comparison to the 2021 U.S. Bureau of Labor Statistics
8     data, which reflects a 9.1% Black or African American representation within Google's industry

9     classification."^ But Google steers and traps its "Black+" hires into lower-paying and lower-
10
      prestige roles. Google's awful underrepresentation is even worse in leadership and prestigious
11
      technical roles. For instance, in 2021, Google's leadership ranks were only 3% Black and its
12
      prestigious tech workforce was only 2.9% Black.
13
              21.    Google's anemic diversity statistics are the result of its discriminatory hiring and
14

\5    employment policies and practices. Google employs company-wide hiring policies and practices

16    for the recruitment, screening, interviewing, evaluating, and hiring of candidates that discriminate

      against Black applicants at every step of the hiring process. Google disproportionately screens out
18
      and assigns lower scores to Black applicants than similarly qualified and even less qualified non-
19
      Black applicants, among other discriminatory practices. Google relies on factors and processes
20
      that individually and collectively discriminate against Black applicants and hold Black applicants

22 to differential and higher standards than non-Black applicants. Indeed, even when Black
23    applicants "pass" the initial screens and interviews, Google employs discriminatory "culture-fif

24


25    3 Google's self-reporting category "Black+" includes employees who identify as more than one race, one
      of which is Black.
26    4 https://www.bls.gov/cps/cpsaatl8.htm
                                               SECOND AMENDED
                                                  COMPLAINT
                                                     -8-
           3:22-cv-05246-RFL Document
      Case 3:22-cv-01735-AMO Document58
                                      43 Filed
                                          Filed12/07/23
                                               09/15/22 Page
                                                        Page44  of49
                                                             9 of  84




1    interviews to assess a candidate's "Googlyness" to deny well reviewed Black applicants

     opportunities and positions for which they are otherwise well-qualified, and often the best

     candidate.


            22.     The Black employees hired by Google must work in an unflinchingly hostile

     workplace, in whieh racial segregation and harassment are commonplace and unabated. Pursuant

     to its racially biased corporate culture, Google fosters a racially hostile work environment in its

8    workplaces across the country, including its Mountain View headquarters. While non-Black

9    Googlers freely stroll Google's state-of-the-art workplaces. Black Google employees are viewed
10
     with suspieion and routinely harassed and subjected to invasive security stops and identification
11
     checks. They are treated as unweleome outsiders or even threats at Google's Mountain View
12
     headquarters, reminiscent of the over-policing of Black communities that plagues America. In
13

     doing their jobs and pursuing their careers and dreams at Google, Black employees are openly
14

15   subjeeted to striking racist and racialized comments and conduct by their peers and managers.

16   There is open and offensive talk at Google of slavery and skin color, and racial caricamres and

     stereotypes abound. Google personnel falsely assume and openly comment that Black
18
     professionals are unqualified, dumb, and do not belong. For example. Black professional
19
     "Googlers" are often assumed to be "the help" and directed to help with dishes and told to smile
20
     more and ask to be of serviee to non-Black colleagues and managers. Google's racially hostile
21

22
     workplace is so pervasive and notorious that employees of color created a shared document on the

23   company's intranet to share thousands of examples of aets of harassment and microaggressions

24   they faee on a daily basis at Google offiees.
25

26


                                             SECOND AMENDED
                                                COMPLAINT
                                                   -9-
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document 58 Filed 09/15/22
                             Document 43       12/07/23 Page 10
                                                             45 of 49
                                                                   84




 1          23.       In addition to being forced to work in a racially hostile work environment, Black
2
     Google employees face company-wide discriminatory pay, level and job assignment,
3
     performance assessment, and advancement and promotion policies and practices that
4
     systematically underpay, diminish, and delay and deny their advancement in a number of ways.
5
            24.       Google assigns "levels" to all positions across the country. For example. Level 2 is
6

7
     the lowest level Google assigns to permanent,full-time employees, typically reserved for hires

8    straight of out college. Level 3 corresponds to entry-level work, typically for recent college

9    graduates. Google considers all employees at the same level—^regardless of location in the United
10
     States—^to perform substantially equal or substantially similar work. Each level is to correspond
11
     to a standardized base salary and compensation range, among other things.
12
            25.       Following its company-wide pattern or practice of discrimination and racially
13
     biased culture, Google places Black hires and employees into lower-levels than their experience
14

15   and responsibilities warrant and than similarly situated non-Black hires. Google pays Black

16   employees less compensation and steers them into roles that lack opportunities for advancement

     or leadership.
18
            26.       Google's compensation policies and practices result in racial pay disparities based
19
     on this levelling. For example, Google's pay practices regarding bonuses and stock options harm
20
     Black employees. Among other things, Google awards bonuses and stock options to its

22 employees with progressively increasing bonus targets depending on level. At Level 3, for
23   instance, Google's centralized, nationwide policy establishes a bonus target of 15% of base

24   compensation. At Level 4, the bonus target increases to 20% of the already-higher base

     compensation. Thus, by steering Black employees into lower levels and paying them less than
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                                              SECOND AMENDED
                                                 COMPLAINT
                                                    - 10-
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document
                             Document 58
                                      43 Filed
                                         Filed 12/07/23
                                               09/15/22 Page 46
                                                             11 of 84
                                                                of 49




 1   non-Black employees within level, Google intentionally uses policies that compound any pay
2                                                                                         .    ..
     disparity between Black and non-Black employees throughout their careers. These disparities
3
     only worsen because Google rarely offers its Black employees opportunities for advancement.
4
            27.     Under Google's compensation policies and practices, Black professionals
5
     otherwise are paid lower salaries and bonuses and receive less equity than comparable non-Black
6

7
     employees.

8           28.     Further, Google maintains company-wide racially discriminatory performance

9    assessment, management, and review policies and practices, which result in Black employees
10
     being rated lower than their performance warrants and denied advancement opportunities,
11
     compensation, and other benefits. Indeed, Google's own internal studies and reports reflect that it
12
     rates Black employees lower than their non-Black colleagues in performance review ratings.
13

     Pursuant to Google's discriminatory practices. Black employees are more likely than any other
14

15   group to receive a job-threatening "Needs Improvement" performance review, which results in

16   substantial eamings losses, is the death-knell for advancement, and often ends their Google
17   careers.


18
            29.     Google also maintains corporate policies and practices that deny Black
19
     professionals advancement and promotions, stunting their careers and depressing their eamings.
20
            30.     By assigning Black employees to lower-level positions, compensating them less
21

22   within levels than similarly situated non-Black employees, unfairly evaluating their performance,
23   and denying Black employees advancement opportunities into higher levels, under Google's

24   centralized, nationwide policies. Black employees are paid substantially less than similarly

     situated non-Black employees. Moreover, because of the racially discriminatory and hostile
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                                            SECOND AMENDED
                                               COMPLAINT
                                                  - 11 -
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document
                             Document 58
                                      43 Filed 12/07/23
                                               09/15/22 Page 47
                                                             12 of 84
                                                                of 49




 1   environment at Google, as well as the underpayment and denial of advancement, Black
2
     employees suffer above-average attrition rates at Google. In fact, Google's most recent data
3
     shows that from 2020 to 2021, a period during which white attrition decreased, the already-high
4
     attrition rate for all Black employees increased, with attrition for Black women in particular
5
     exceeding firmwide attrition by nearly 50%.^
6

q           31.     Complicit in Google's pattern or practice of race discrimination and retaliation is
8    its human resources group, which is ineffective at resolving complaints of discrimination,

9    harassment, and retaliation. Black employees recognize the futility of lodging internal complaints.
10
     The few brave enough to come forward suffer retaliation. Google's human resources department
11
     and legal department defend discriminators, harassers, and retaliators, and do not take adequate
12
     steps to prevent Google from retaliating against Black employees who lodge complaints.
13

            32.     Google does not foster an environment where Black employees feel free to
14

]5   complain of discrimination or harassment. Instead, Black employees often feel intimidated from
16   coming forward and suffer retaliation.

            33.     Thus, during Plaintiffs' employment, before and afterwards, Google engaged in a
18
     pattern or practice of discriminatory and retaliatory conduct toward its Black employees and
19
     applicants throughout the United States including, but not limited to the following practices:
20
                     a.      Google employs discriminatory hiring policies and practices and denies
21                           qualified Black applicants employment because of their race;

22                   b.      Google employs policies and practices that result in occupational
                             segregation by race and racial steering;
23

24

25   5 2Q21 Diversity Annual Report at 13, GOOGLE,
     https://static.googleusercontent.com/media/diversity.google/en//annual-
26   report/static/pdfs/google_202l_diversity_armual_report.pdf.

                                               SECOND AMENDED
                                                  COMPLAINT
                                                        - 12-
     Case3:22-cv-01735-AMO
     Case 3:22-cv-05246-RFL Document 58 Filed 12/07/23
                            Document 43       09/15/22 Page 48
                                                            13 of 84
                                                               of 49




 1             c.    Google employs discriminatory pay policies and practices, including
                     assigning Black employees to positions at lower "levels" and to lower
2                    paying jobs than it assigns non-Black employees;

3              d.    Google employs discriminatory advancement policies and practices,
                     including placing Black employees into positions without advancement
4                    opportunities and denying or delaying advancement opportunities to Black
                     employees;
5
               e.    Google fails to credit its Black employees for their experience on the same
6                    basis as non-Black employees and fails to recognize Black employees for
                     timely promotions, pay adjustments, and title changes on the same basis as
7                    non-Black employees;

8              f.    Google maintains discriminatory compensation practices and
                     systematically pays its Black employees lower wages and/or denies them
9                    opportunities to increase their earnings;

10             g.    Google employs racially discriminatory performance assessment,
                     management, and review policies and practices, which result in Black
11                   employees being rated lower than their performance warrants and results in
                     Black employees being denied advancement opportunities, compensation,
12                   and other benefits and in unwarranted performance management and
                     discipline, including termination;
13
               h.    Google takes adverse actions against its Black employees, such as
14                   unwarranted performance management actions, reduction in job
                     responsibilities, demotions, transfers, constructive discharges, reduction in
15                   pay, and discharges on account of their race and/or their rejection of or
                     unwillingness to tolerate a racially discriminatory or hostile work
16                   environment;

17             i.    Google relies on race and negative stereotypes about the abilities and
                     potential of Black employees in making employment decisions;
18
               j.    Google denies Black employees important resources, grooming,
19                   managerial and administrative support, special project work, training, and
                     business opportunities because of race;
20
               k.    Google humiliates, intimidates, harasses, and demeans its Black employees
21                   and otherwise creates a hostile and offensive work environment;

22             1.    Google takes adverse actions against its Black employees who report,
                     reject, oppose, or are otherwise unwilling to tolerate discrimination or
23                   racially hostile work environments;

24             m.    Google refuses to undergo impartial, thorough investigations or take
                     meaningful corrective action against co-workers and managers who engage
25                   in racial harassment and racial discrimination.

26


                                      SECOND AMENDED
                                         COMPLAINT
                                            - 13 -
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document
                             Document 58
                                      43 Filed
                                         Filed 12/07/23
                                               09/15/22 Page 49
                                                             14 of
                                                                of 84
                                                                   49




1           34.     Google's policies and practices demonstrate that it fundamentally devalues equal
2
     employment opportunity. Google, for instance, engages in similar discrimination against other
3
     protected classes. A court certified a class of over 10,000 female California Google employees
4
     paid less than men because Google "(a) assign[s] women to lower 'Levels'(i.e. salary bands)than
5
     it assigns men;(b)assign[s] women to jobs that do not compensate as highly as those populated
6

 y   largely by men;(c) promot[es] women more slowly and at lower rates than it promotes men; and

8    (d)pay[s] women less than it pays men performing similar work." {Ellis v. Google, No. CGC-17-

9    561299(Superior Ct. of S.F. Cnty.), First Amended Complaint,][ 3.) One of the class
10
     representatives alleges, consistent with Plaintiffs experience, that she was "placed ... into Level
11
     3, even though she had four years of directly relevant work experience." {Id. T| 59.) Google
12
     recently agreed to settle Ellis for $118 million, in addition to certain programmatic relief.
13

            35.     The intentional and disparate impact discrimination described above is ongoing
14

15   and constitute a continuing violation of the civil rights laws.

16           36.    The racially discriminatory policies and practices at Google are uniform and

     national in scope. Class members are relying on Plaintiffs and this lawsuit to protect their rights.
18
              Plaintiffs Were Subjected to and Harmed by Defendant's Unlawful Conduct
19
     April Curley
20
             37.    April Curley, like other class members, was subjected to a hostile work
21
     environment and harmed by Google's racially discriminatory practices throughout her tenure.
22
     When she complained, sought to change these practices, and advocated for others, she suffered
23

24   retaliation.

25

26


                                             SECOND AMENDED
                                                COMPLAINT
                                                   - 14-
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document 58 Filed 09/15/22
                             Document 43       12/07/23 Page 15
                                                             50 of 49
                                                                   84




1           38.    Curley worked as a People Programs Specialist I, also known as a University
2
     Programs Specialist, from 2014 until she was unlawfully terminated in 2020. Curley worked for
3
     Google in New York, NY from her hire in 2014 until approximately December 2018, and then
4
     transferred to the Washington, D.C. office, where she worked until her tennination.
5
            39.    Because of Google's abysmal underrepresentation of Black employees, Google
6

7
     recruited Curley to design and scale a program of outreach to Historically Black Colleges and

8    Universities and to recruit Black students. When Google hired Curley, she had been successfully

9    performing a similar role at Teach for America for three years, and held a Master's degree along
10
     with an additional two years of work experience. Yet Google "under-leveled" Curley. At the time
11
     Google hired her, her Master's degree and five years of professional experience should have
12
     corresponded to Level 5, yet Google assigned her to only Level 3—entry level post-bachelor's
13

     degree—and never promoted her or gave her merit pay increases. Indeed, Google never assigned
14

15   Curley to the higher level she deserved despite her stellar qualifications and performance.

16          40.     Curley's talent, hard work, and experience paid off—she established a strong

     pipeline of talented Black engineering candidates, providing Google access to a wealth of
18
     previously untapped technical expertise and leadership potential. Thanks to Curley's efforts,
19
     Google started to see an increase in its Black technical hiring. Curley enjoyed the recognition of
20
     her peers and the acclaim of the participants in the campus experiences she created.

22          41.     In her role, Curley discovered that Google was biased against and reluctant to hire
23   Black talent, subjecting Black students to more stringent hiring practices than non-Black

24   candidates. Plaintiff vocally opposed Google's systemic discrimination, including the following

     discriminatory employment practices, among others:
26


                                            SECOND AMENDED
                                               COMPLAINT
                                                     - 15-
      Case
      Case3;22-cv-01735-AMO  Document 43
           3:22-cv-05246-RFL Document 58 Filed 09/15/22
                                               12/07/23 Page 16
                                                             51 of 49
                                                                   84




 1             • Google viewed Black candidates through harmful racial stereotypes and hiring
2                    managers deemed Black candidates not "Googly" enough, a plain dog whistle for
                     race discrimination;
3
                     Google interviewers "hazed" and undermined Black candidates, regularly asking
4                    level-inappropriate questions of Black candidates to intentionally tank their
                     interview scores.
5
                     Google hired Black candidates into lower-paying and lower-leveled roles, with
^                    less advancement potential, based on their race and racial stereotypes.
7
            42.      Curley and her Black female colleagues advocated to break down these barriers.
8
     Google was openly hostile to this advocacy for equal employment opportunities, and made clear
9
     to Curley that she was supposed to be only window dressing. Google expected Curley and her
10
jj Black colleagues to execute the majority-white management's marketing-focused Black
12   recruitment strategies and never raise any concerns while doing so. Curley and her teammates'

13   advocacy quickly earned them a reputation within Google's discriminatory management culture

     as "difficult,""negative," and "hard to work with."

^^          43.      Because Google intended Curley to be a marketing ploy rather than a real
16
     champion for Black opportunity and change, Google sought at every tum to marginalize her and
17
     prevent her from advocating for herself and other Black Google employees and applicants.
18

     Google hired a revolving door of managers to supervise Curley, many of whom harbored animus

20   toward Black employees and especially Black women. Google selected managers who, among

21   other things:
22
                     Frequently mistook Curley and her two Black female colleagues for each other and
23                   called them by each other's names;

24             • Called Curley and her Black female colleagues "the girls" or demeaning labels
                     other than their names;
25


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                                               SECOND AMENDED
                                                  COMPLAINT
                                                     - 16-
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document
                             Document 58
                                      43 Filed 12/07/23
                                               09/15/22 Page 52
                                                             17 of 84
                                                                of 49




 1              • Refused to acknowledge or let Curley and her Black female colleagues speak in or
2                   present during important meetings;
2               • Described Curley and her Black female peers' work as "low-level";
4               • Created work environments so hostile that Curley's female peers were forced to
                  leave the company, or suffered emotional distress;
5
                • Ignored and devalued Curley and her Black female peers' expertise at their jobs
^                   and with Black students, even though the managers lacked the same level of
j                   success.

 g              • Refused to support or nominate Curley or her Black female colleagues for pay and
                    advancement opportunities;
9
                • Discouraged Curley and her Black female peers from challenging Google's
10                  racially discriminatory practices against Black students;
^^              • Demeaned and sexualized Curley as a Black woman,including by asking her
j2                  which colleagues she wanted to sleep with.
            44.     Curley sought help and reform and reported this conduct and several managers to

14   Google's HR department and upper management. These complaints were ignored, and worse,

1^   resulted in increased discrimination and harassment. Google conducted no meaningful
     investigations and took no corrective actions. To the contrary, Google repeatedly promoted
17
     managers who discriminated, retaliated, and created a hostile work environment.
18
            45.     Among Curley's nine supervisors, only one was a Black woman. This manager

2Q   was also the only one to put Curley up for a level increase, which would have adjusted Curley's
21   pay and job level to account for the higher-level work she was already performing. Curley's pay

22   adjustment was approved, yet when the time came for her level increase to be announced, Google

     falsely claimed it lacked the budget to adjust her pay. Curley was never considered for
24
     advancement opportunities again. Her sole African American female manager lasted less than two
25
     years in the role.
26


                                            SECOND AMENDED
                                               COMPLAINT
                                                  - 17-
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document
                             Document 58
                                      43 Filed
                                         Filed 12/07/23
                                               09/15/22 Page 53
                                                             18 of 84
                                                                of 49




 1          46.     Curley later learned that a high-level white manager had blocked her pay and level
2
     increase. Although that manager worked on the same floor as Curley and the two enjoyed a
 3
     cordial relationship, she admitted to Curley that she considered her "intimidating,"
4
     "unwelcoming," and—a stereotype Black women in America are all too familiar with—"angry."
5
     She refused to consider Curley for any advancement opportunities because of her race and reports
6

 y   of discrimination at Google.

 8          47.     Throughout late 2019, Google repeatedly reprimanded Curley and cut her annual

 9   compensation for speaking up in team meetings and challenging intemal practices.
10
            48.     Curley again sought help and filed an HR complaint in January 2020. Google
11
     conducted no investigation and instead the complaint doomed Curley's career at Google.
12
            49.     In spring of 2020, a group ofthe dozen or so Black and Latinx employees within
13
     University Programs, including Curley, assembled to address the many issues facing people of
14

15   color at Google, including but not limited to lack of advancement opportunities, exclusion from

16   leadership, underpayment, underleveling, and high attrition. The group met several times and

^^   developed a list of desired reforms.
18
             50.    In plain retaliation for Curley's leadership role in this advocacy group, in June
19
     2020, Google placed her on an informal performance improvement plan ("PIP"). Despite
20
     Curley's strong performance during the informal PIP, in early August 2020, Google intensified its

22 retaliation, warning Curley to either accept severance immediately or be placed on a formal
23   performance improvement plan, where it was clear that Google would terminate her employment

24   at the end ofthe plan. Curley chose to fight for her job and began a formal 30-day performance

     improvement plan that was slated to end on September 17, 2020.
26


                                            SECOND AMENDED
                                               COMPLAINT
                                                  - 18-
       Case3:22-cv-01735-AMO
      Case  3:22-cv-05246-RFL Document 43
                                       58 Filed 09/15/22
                                                12/07/23 Page 19
                                                              54 of 49
                                                                    84




 1          51.     While on the PIP, Curley advised Google she was preparing a detailed report about

     its racial bias in hiring practices. In response, Google ended Curley's PIP early and unlawfully
3
     terminated her employment on September 11, 2020,freezing out her access to the document and
4
     her ability to complete and submit her report documenting the discriminatory practices.
5
            52.     As a result of Google's unlawful conduct, Curley, like other class members, has
6

7
     lost wages, promotional opportunities, and other benefits, and suffered irreparable harm to her

8    career, emotional distress, and other nonpecuniary losses. Google's actions have caused and

9    continue to cause Plaintiff substantial losses in earnings and other employment benefits, in an
10
     amount to he determined by a jury.
11
     Desiree Mayon
12
            53.     Desiree Mayon worked as a Technical Program Manager at Google from August
13

     2019, until she was unlawfully terminated in September 2021. Like other Black Google
14

15   employees, Mayon was subjected to a racially hostile work environment and harmed by Google's

16   racially discriminatory employment practices throughout her tenure. When she complained,

     sought to change these practices, and advocated for herself and others, she suffered retaliation.
18
            54.     When Google recruited Mayon,she was well qualified to excel; she was a
19
     successful senior technical program manager for a global online e-commerce company, held two
20
     bachelor's degrees, and had over 18 years of professional work experience managing technical

22   software projects. Mayon speaks Vietnamese, Mandarin, Spanish, and American Sign Language
23   and is able to code using 7 different languages. Despite her considerable experience and

24   outstanding credentials, and consistent with its company-wide discriminatory practices, Google
25

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                                             SECOND AMENDED
                                                COMPLAINT
                                                   - 19-
       Case3:22-cv-01735-AMO
      Case  3:22-cv-05246-RFL Document 58 Filed 09/15/22
                              Document 43       12/07/23 Page 20
                                                              55 of 49
                                                                    84




1    "under-leveled" Mayon, placing her in Level 4 and refusing to place her in a higher level and

     otherwise denying her advancement opportunities during her tenure.

            55.      Throughout her employment, Google marginalized and undermined Mayon,

     refusing to credit her outstanding work or provide her with support, resources and opportunities

     because of her race. Consistent with its systemic race discrimination, Google denied Mayon merit

     pay increases and other compensation. Google subjected Mayon to race and sex discrimination

8    and an unflinchingly hostile work environment. Google's supervisors and employees knew,

9    participated, and encouraged the discrimination and hostile work environment.

            56.       Google's racially hostile work environment is severe, pervasive, and continued
11
     throughout Mayon's employment. Examples of the racial hostility to which Google subjected
12
     Mayon,includes but is not limited to the following;
13
                • Google employees made racist references about Mayon's skin color; one colleague
                  said "I thought black people didn't get sunburns" as it was "historically
15                impossible" due to slaves working outside all day at plantations.

16              • Mayon was subjected to racist comments, such as "well, you don't really look that
                  black," implying that being a Black person or having darker skin color is a
1^                    problem.
18
                      Mayon's colleague ordered her to ask,"how can I serve you?" before addressing
                      him.
19

20                • Mayon was "badge checked" by a Google employee and told she could not use the
                    only woman's restroom in the building. The Googler then chased Mayon around
21                    the bathroom while proclaiming,"your people are not welcome here," referring to
                      African Americans.
22

22                • Google employees regularly "badge checked" Mayon (and other Black employees)
                      despite her visibly wearing her badge, but did not "badge check" her non-Black
24                    visiting friend.

25                • Mayon was the subject of racial slurs and racialized and racially stereotypical
                      comments, including being called a "bitch" and aggressive, and being told "she
26


                                             SECOND AMENDED
                                                COMPLAINT
                                                      -20-
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document 58 Filed 09/15/22
                             Document 43       12/07/23 Page 56
                                                             21 of 49
                                                                   84




1                   was not smart enough to be technical." Mayon was told she is "loud and every
                    stereotype of a black woman."

                    Mayon's colleague told Mayon that she "doesn't have to speak to people like
                    you," meaning Black people.

                • Mayon was subjected to racist and offensive comments by her team's lead,
5                 including being told she was "incompetent,""needs to go back to grammar
                  school," and needs to "learn how to speak proper English."

                • Consistent with stereotypes about Black women, Mayon was labelled as
                  "aggressive" by HR,and told by management to use her "womanly ways," and
g                   "dumb herself down."

9               • Google's Chief of Staff dismissed Mayon's concerns regarding racial
                  discrimination and ordered her not to "bring her Blackness to work," or words to
10                  that effect.
11
                    Mayon's concerns regarding racial discrimination were minimized when a
12                  colleague asked,"why do all Black people feel attacked?'
13              • After an intense meeting, Mayon's manager used his body to push Mayon back
                    down into her chair.
14
             57.    Mayon sought help and reported the scope and severity of the discrimination and

     harassment to numerous supervisors. Human Resources, and even to Google executive-level

17   employees, to no avail. To the contrary, the discrimination escalated, and Mayon suffered severe

18   retaliation.


1^           58.    On June 8, 2020, a senior level executive at Google sent a companywide email
20
     addressing the killings offour Black Americans—Ahmaud Arbery, Dreasjon Reed, Breonna
21
     Taylor, and George Floyd. The email encouraged Google employees to "stand together against
22
     injustices," and to use at least 30 minutes ofthe next day to "educate yourself about racial
23

24   injustice. The senior-level executive went on to proclaim,"I've been spending some time
25   reflecting on the recent headlines and what I can do better as an ally. I welcome any feedback ..

26   I stand in solidarity with the Black community.'

                                            SECOND AMENDED
                                               COMPLAINT
                                                  -21 -
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document 58 Filed 09/15/22
                             Document 43       12/07/23 Page 22
                                                             57 of 49
                                                                   84




 1          59.     Hopeful and following the executive's directive to respond, Mayon replied to the

     executive's email and provided an account ofsome of the racial discrimination she experienced
3
     as a Black woman at Google. After replying to the email, Mayon's concerns were not addressed
4
     and Mayon continued to suffer discriminatory treatment. Google's messaging was plainly
5
     insincere lip service.
6

7
            60.     Indeed, after Mayon again raised the issue of race discrimination, her manager

8    screamed at her and slammed his door, hitting Mayon in the face. After realizing Mayon was

9    injured, rather than apologizing, Mayon's manager jerked open the door and said, "It is always
10
     something with you," or words to that effect, and stormed off.
11
            61.     Human Resources refused to conduct a full and fair investigation or take
12
     meaningful corrective action to halt the discrimination in response to any of her complaints.
13

     Instead, HR chastised Mayon and demanded that she just "assume the best intent" of her
14

15   colleagues and managers.

16          62.     In further acts of discrimination and retaliation, HR allowed the same manager that

     hit Mayon with the door to give her an inaccurate and unwarranted "Needs Improvement'
18
     performance review. This was plainly retaliatory and consistent with Google's racially
19
     discriminatory performance management and review practices.
20
             63.    As a result of Google's severe and escalating discrimination and retaliation,

22   Mayon's health deteriorated, requiring her to take medical leaves. After returning from her
23   second medical leave, Mayon was assigned to a new manager, who continued to escalate

24   Google's campaign of discrimination and retaliation. During a heated meeting in which Mayon's
25

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                                            SECOND AMENDED
                                               COMPLAINT
                                                  -22-
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document 58 Filed 09/15/22
                             Document 43       12/07/23 Page 23
                                                             58 of 49
                                                                   84




1    discriminatory treatment was discussed, her manager was accusatory and demanded Mayon leam
2
     her place and how to just keep her head down and do her job.
3
            64.     Consistent with Google's discriminatory performance and disciplinary practices, it
4
     continued its punitive witch hunt against Mayon. Google issued her false and unfair "write-ups"
5
     for attendance while she was on approved medical leave. Worse, Google placed Mayon on an
6

7
     unwarranted PIP for not being "Googly" enough and because she "pissed off[a level 7

8    manager]." Mayon and other Black employees clearly understand the term "Googly" to be a dog

9    whistle for race discrimination. Google's racial hostility and retaliation against Mayon continued.
10
     During her PIP evaluations, Mayon's manager regularly screamed at and berated her, hut the HR
11
     representative who attended these meetings failed to inteiject or halt the abuse, despite Mayon's
12
     objections.
13
            65.     Google's discrimination, racial harassment and retaliation continued to cause
14

15   Mayon's health to deteriorate, forcing Mayon to take another protected medical leave. While on

16   medical leave, in plain retaliation for her protected activity reporting racial discrimination an for

     taking protected medical leave, Google falsely accused Mayon of misconduct and then terminated
18   ,
     her employment.
19
            66.     Google sought to punish Mayon further after it fired her. Google contacted
20
     Mayon's prospective new employer and falsely claimed that Mayon stole property from Google.

22   As a result of Google's retaliation, Mayon's prospective employer rescinded its job offer.
23          67.     As a result of Google's unlawful conduct, Mayon, like other class members, has

24   suffered considerable harm and damages. She has lost wages, promotional opportunities, and

25


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                                             SECOND AMENDED
                                                COMPLAINT
                                                   -23-
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document 58 Filed 09/15/22
                             Document 43       12/07/23 Page 24
                                                             59 of 49
                                                                   84




1    other benefits, and suffered irreparable harm to her career, emotional distress, and other

     nonpecuniary losses. These damages and losses are ongoing.
3
     Ronika Lewis
4
            68.     Ronika Lewis has worked for Google since February 2020. Despite her
5
     considerable experience and outstanding credentials and performance, Lewis has been subjected
6

7
     to and harmed by Google's discriminatory employment practices and racially hostile work

8    environment. Among other things, Google has denied Lewis advancement opportunities and

9    compensation. When Lewis sought help and reported her unlawful treatment to Google, she
10
     suffered retaliation.
11
            69.     In 2019, Google began to recruit Lewis to become the Head of Logistics Strategy
12
     Operations and Analytics, for good reason. Lewis had over 20 years of experience as an
13

     engineering and technology management professional and was well qualified to excel at Google.
14

15   She served in a senior capacity at multiple tech startups and Fortune 500 companies and as a

16   technology advisor for public and private universities. Lewis had an excellent industry reputation

     and was and is often asked to serve as a board advisor, speaker, and technology instructor.
18
             70.    Excited for the career opportunities promised by Google, Lewis left her job and
19
     relocated from Boston to California to accept the role as Google's Head of Logistics Operations
20
     Strategy and Analytics, a Level 7 position. Unfortunately, after Lewis started at Google, it

22   eliminated the position of Head of Logistics Operations Strategy and Analytics. Consistent with
23   its discriminatory, company-wide job and level assignment practices, Google "down-leveled

24   Lewis to a Level 6 and lowered her title to Senior Program Manager. Throughout her tenure,
25

26


                                             SECOND AMENDED
                                                COMPLAINT
                                                   -24-
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document 58 Filed 09/15/22
                             Document 43       12/07/23 Page 25
                                                             60 of 49
                                                                   84




 1   Google refused to place Lewis at the higher level warranted by her experience and performance
2
     and denied her compensation and advancement opportunities.
3
            71.     From the moment she started working for Google, Lewis' performance has been
4
     outstanding. During the early days of the coronavirus pandemic in March 2020, Google partnered
5
     with the White House Coronavirus Response Task Force to assist with providing services for
6

 7
     mass testing sites, public registration, and coronavirus tracking. Lewis volunteered in response to

 8   a company-wide email from Google's Chief Executive Officer and was selected to be the lead site

9    program manager, where she designed, led, and scaled coronavirus testing sites. Lewis excelled in
10
     the crisis and earned multiple awards for her performance, including a Google Citizenship Award,
11
     an award rarely, if ever, given to new hires at Google.
12
            72.     Despite her extraordinary leadership, service, and performance, Google denied
13

     Lewis pay, recognition, and advancement opportunities pursuant to its discriminatory
14

15   employment practices. Google also refused to increase Lewis'job level or compensation. Lewis

16   asked Google to be promoted multiple times, but she was denied. After receiving an exceeds

     expectations rating on her performance review, Lewis again requested a promotion. During a
18
     meeting thereafter, Lewis' manager stood up and slammed his fist down on the desk and
19
     demanded, yelling, that she "take that promotion request down," or words to that effect.
20
^^           73.    After being denied the opportunity to advance and be promoted, Lewis transferred
22 to a different role, where her new manager promised to correct her level and increase her pay
23   after the transfer. However, in order to transfer, Lewis was again required to be "dovra-leveled.

24   Lewis transferred roles and was demoted and down-leveled to a Level 5 employee.

25

26


                                            SECOND AMENDED
                                               COMPLAINT
                                                  -25-
        Case3:22-cv-01735-AMO
       Case  3:22-cv-05246-RFL Document 58 Filed 09/15/22
                               Document 43       12/07/23 Page 26
                                                               61 of 49
                                                                     84




 1             74.   In her new role, Lewis consistently and successfully performed work above Level
2
      5 without pay adjustments or advancement. Senior-level executives assured Lewis she was "doing
3
      great work" and that her performance "set the standard." Nevertheless, pursuant to Google's
4
      racially discriminatory performance assessment and review practices, Lewis' stellar performance
5
      was not recognized in her performance review. She again was denied the promised level
6

 <7   correction and pay increase.

8              75.   Hoping to escape her discriminatory environment and advance her career, Lewis

9     accepted a new regulatory compliance role with a different manager. Lewis' new manager agreed

      to raise Lewis' level and pay, but again, after her transfer, Google reneged on its promises and
11
      neither Lewis' level nor compensation changed. Despite her outstanding performance, Google
12
      told Lewis she would have to wait at least 2 or 3 years for a promotion. This is contrary to how
13

      Google treats non-Black employees, including those with lesser performance, who are regularly

25    promoted with less than one year of tenure. Indeed, in her current role, Lewis has observed

16    multiple new hires with equal or less experience, all offered higher compensation packages than

17    Lewis.

18
               76.   Throughout her employment, Lewis has been subjected to severe and pervasive
19
      racial harassment and Google's racially hostile work environment. For example, a racially hostile
20
      colleague, to slow Lewis' progress and hamper her performance, stole Lewis' work-issued cell
21

22    phone and lied about it for days until finally admitting, without repercussion, that he "had it the
23    whole time." After witnessing the incident, another Google employee told Lewis to ignore it

24    because "every third person here is like him," meaning racially biased. During her tenure, Lewis
25
      had to endure a barrage of additional racist comments and treatment, such as being told:
26


                                              SECOND AMENDED
                                                 COMPLAINT
                                                    -26-
       Case3:22-cv-01735-AMO
      Case  3:22-cv-05246-RFL Document 43
                                       58 Filed 09/15/22
                                                12/07/23 Page 27
                                                              62 of 49
                                                                    84




1              • "You're not smart enough to work at Google'

^              • "You should be a Doordash driver instead of working at Google'
3
                   "You are a liar and people like you are liars," referring to Black people
4
                       I want to see you take a bone off someone's plate and bite into it" at a Google
5                  sponsored country club event

6           77.    Rather than receiving the grooming and support that her white colleagues enjoyed,
7
     Google undermined and devalued Lewis at every turn. Lewis was marginalized and excluded by
8
     superiors and peers; she was placed on teams that were understaffed, had work assignments
9
     constantly changing, and was pulled into unscheduled meetings to present to Google Executives
10
     with no advance warning, when other colleagues worked collaboratively in secret preparing for
11

j2   these meetings.
13          78.     Throughout her employment, Lewis repeatedly complained and reported to

     numerous supervisors of Google's discriminatory pay, treatment, and hostile work environment.
15
     In an attempt to seek help, Lewis also made complaints to Google's HR department, to no avail.
16
     To the contrary, the discrimination escalated and Lewis suffered severe retaliation.
17
            79.     Google's worsening working environment and targeting led Lewis to have
18
     significant health issues which continued to worsen. Because of Google's treatment, Lewis even
19

20   passed out at work. Google was unsympathetic; when she notified Google she required surgery,
21   Google forced Lewis to postpone the surgery multiple times causing her further harm.

22          80.     As a result of Google's discrimination and retaliation, Lewis has been
23
     considerably harmed. She has lost compensation and jobs, suffered extreme emotional distress
24
     and her career and reputation have been irreparably harmed.
25

26


                                              SECOND AMENDED
                                                 COMPLAINT
                                                      -27-
       Case3:22-cv-01735-AMO
      Case  3:22-cv-05246-RFL Document 43
                                       58 Filed 09/15/22
                                                12/07/23 Page 28
                                                              63 of 49
                                                                    84




1    Rayna Reid

^           81.     Rayna Reid worked for Google as a Staffing Channels Specialist, from October
3
     2018,imtil she was constructively discharged in January 2020. When Google recruited Reid, she
4
     was well qualified to excel: she was a successful Managing Director for a national firm, held a
5
     Master's Degree in education, a Juris Doctorate, a New York license to practice law, and had over
6

 y   7 years of experience, including serving as Counsel for the Committee on Education and the
8    Workforce at the United States House of Representatives. Despite her considerable experience

9    and outstanding credentials, and consistent with Google's firm-wide discriminatory practices,
10
     Reid, like other class members, was subjected to and harmed by Google's diseriminatory
11
     employment practices and racially hostile work environment throughout her tenure. When she
12
     complained to Google on multiple occasions and sought to change these practices, she suffered
13

     retaliation.
14

25           82.    Reid originally applied to work at Google's New York campus. After multiple

16   rounds of interviews, Google denied Reid a job in New York but offered her a position at

     Google's Austin, Texas or Mountain View campuses. Excited for the career opportunities
18
     promised by Google, Reid left her existing job and moved to Austin to work for Google.
19
             83.    Consistent with Google's discriminatory job placement and levelling practices,
20
     Google "under-leveled" Reid, placing her at Level 3 because of her race. Indeed, Google gave a

22   white male hired after Reid a Level 4 position even though he had considerably less experience
23   than Reid. Throughout her tenure, Google refused to place Reid at the higher level she deserved

24   and denied her compensation and advancement opportunities.
25

26


                                            SECOND AMENDED
                                               COMPLAINT
                                                  -28-
         Case3:22-cv-01735-AMO
        Case  3:22-cv-05246-RFL Document 43
                                         58 Filed 09/15/22
                                                  12/07/23 Page 29
                                                                64 of 49
                                                                      84




1             84.      Google also subjected Reid to racial harassment and a racially hostile work

^ environment, including being subjected to racial stereotypes as a Black woman. During her first
3
       month at Google, Reid's managers called her into a room to discuss what they described as "the
4
       elephant in the room," and accused her of not liking working in Austin. Having only worked at
5
       Google for a couple of weeks, Reid was shocked as she had never expressed that she did not like
6

       Austin.
7

8             85.      A few months later, Google demanded Reid meet for an early mid-year

9      performance review with her manager. During the meeting, Reid's manager's sole critique was
10
       that Reid was not being "Googly" enough and "not smiling enough." Once again, Reid was
11
       dumbfounded. After the meeting, in an attempt to understand being "Googly," Reid scrolled
12
       through her manager's public social media posts. She discovered in her manager's social media
13

       racist anti-Black imagery of a cartoon "Mammy" caricature of an African American woman,
14

25     smiling while holding a child. In the post, Reid's manager replaced the child's face with his own.

16     Appalled, Reid alerted Human Resources for help and to report the discrimination, to no avail.

                 86.   Consistent with Google culture and company-wide practices, Reid was subjected
18
       to severe and pervasive harassment and a racially hostile work environment that throughout her
19
       employment, including not limited to, the following conduct:
20 „
                       Colleagues openly made racist comments about her hair and announced racist
                       sentiments regarding African Americans such as,"Black men are disgusting.'
22
                       Being tokenized and talked to based on racial stereotypes that she did not belong
23                     and "should be happy" to be at Google and was not "acting grateful enough" to be
                       at Google.
24
                       During a meeting, a manager used a Black woman gesture trope and started
                       snapping her fingers around in the air. Reid alerted Human Resources, but its
                       response was only that managers "will make assumptions about you.'

                                               SECOND AMENDED
                                                  COMPLAINT
                                                     -29-
       Case3;22-cv-01735-AMO
      Case  3:22-cv-05246-RFL Document 43
                                       58 Filed 09/15/22
                                                12/07/23 Page 30
                                                              65 of 49
                                                                    84




1              • Reid was regularly mistaken for a cafeteria worker, even being asked to restock
                    out-of-stock food.
2

2              • Reid was denied time to grieve the loss of her uncle and was instructed that it
                    would look bad if she took time off, causing her to fly to and from her uncle's
4                   funeral on the same day.

5              • Accused of being unable to communicate "beyond one word.'

6           87.     Reid reported to HR Google's discriminatory pay, treatment, and hostile work
7
     environment on a number of occasions without remedy. To the contrary, the discrimination
8
     escalated and Reid suffered serve retaliation. Affer complaining multiple times, Reid was placed
9
     on a PIP in a plain act offurther discrimination and retaliation. Reid was outperforming her non-
10
     Black peers at the time. She was "over exceeding" her hiring number goal, which Google deemed
11

12   "mission-critical." Rather than focus on her objectively excellent performance, Google criticized
13   her communication skills and suggested she have "coffee chats" with other team members.

     Around the same time that Reid was placed on the PIP, Reid won the Google Inclusivity Award,
15
     an act which plainly contradicted the false allegations in her PIP.
16
            88.     Google made it clear it was targeting Reid for termination. After placing Reid on
17
     the unjustified PIP, Google hired a less educated white male with little to no experience, as a
18

     Level 4 recruiter.
19

20          89.     Google's escalating discrimination, racial harassment, and retaliation caused

21   Reid's health to deteriorate and forced her to take protected medical leave. In January 2020, after

     returning from leave, Google continued to target and discriminate and retaliate against Reid,
23
     leaving her no choice but to leave Google on Martin Luther King Jr.'s birthday.
24
            90.     As a result of Google's unlawful conduct, Reid, like other class members, has
25

     suffered considerable harm and damages. She has lost wages, promotional opportunities, and
26


                                             SECOND AMENDED
                                                COMPLAINT
                                                   -30-
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document 58 Filed 09/15/22
                             Document 43       12/07/23 Page 31
                                                             66 of 49
                                                                   84




 1   other benefits, and suffered irreparable harm to her career, emotional distress, and other
2
     nonpecuniary losses. These damages and losses are ongoing.
3
     Anim Aweh
4
            91.       Anim Aweh,like other Black and African American candidates, was subjected to
 5
     and harmed by Google's racially discriminatory hiring practices. Pursuant to these discriminatory
6

 y   practices, Google has denied Aweh over ten positions for which she was well qualified because of
 8   her race.

 9          92.       In November 2021, Google recruited Aweh for an open position at its Mental
10
     Health Initiative in Atlanta, Georgia. Aweh was well qualified to work for Google, and to excel,
11
     in this role. Aweh is Associate Director of a healthcare facility and a board-certified therapist who
12
     earned a master's degree in social work and has over a decade of experience as a licensed clinical
13

     social worker.
14

15           93.      Aweh interviewed with the head of Google's Mental Health Initiative and had

16   three more interviews. On February 14, 2022, Google rejected Aweh's application for

     employment on the basis of her race. Google claimed that Aweh "did not have enough
18
     experience," a statement that was plainly false and a pretext for discrimination given her
19
     substantial mental health experience.
20
             94.      Since then, Aweh has applied to but has not been hired, or even extended an
21

22 interview, for approximately ten other positions at Google relating to mental health and
23   wellbeing, including jobs in or based out of California and New York. These rejections are not

24   based on her qualifications but on her race.
25

26


                                             SECOND AMENDED
                                                COMPLAINT
                                                   -31 -
       Case3:22-cv-01735-AMO
      Case  3:22-cv-05246-RFL Document 58 Filed 09/15/22
                              Document 43       12/07/23 Page 32
                                                              67 of 49
                                                                    84




1           95.     As a result of Google's discrimination, Aweh has suffered considerable harm.
2
     Among other things, she has lost jobs and compensation, suffered emotional distress, and her
3
     career and reputation have been irreparably harmed.
4
     Ebony Thomas
5
            96.     Ebony Thomas, like other Black and African American candidates, was subjected
6

7
     to and harmed by Google's racially discriminatory hiring practices.

8           97.     In April 2021, Google recruited Thomas as a recruiter to focus on providing

9    Google with qualified Black job applicants. Google desperately needed to address its abysmal
10
     underrepresentation of Black professionals.
11
            98.     Thomas was well qualified to work for Google, and to excel, in this role. She was
12
     a certified diversity recruiter and career coach, with over 20 years of professional work
13

     experience, including 10 years as a recruiter and in the information technology industry. Thomas
14

15   successfully made it through multiple interviews, receiving positive feedback, until Google

16   required her to complete a "cultural fit" interview to assess her "Googlyness.'

            99.     After Thomas' cultural fit interview, Google informed Thomas that her application
18
     could not move forward. When Thomas asked for feedback about why she was not selected, the
19
     Google recruiter responded: "I thought you were a perfect candidate. I don't know what
20
     happened.'

22          100. Thomas later learned that though she had received high marks during most of her
23   interviews about her knowledge and experience, she had been flagged for an additional "cultural

24   fit" interview for "Googlyness." Consistent with Google's racially biased corporate culture and

     discriminatory hiring practices, Google deemed that Thomas was not "Googly" enough.
26


                                             SECOND AMENDED
                                                COMPLAINT
                                                   -32-
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document 58 Filed 09/15/22
                             Document 43       12/07/23 Page 33
                                                             68 of 49
                                                                   84




1    Googlyness is a racial dog whistle laden with racial bias and stereotypes and is essentially code
9
     for racial discrimination.

3
             101.   On May 17, 2021, Google rejected and refused to hire Thomas because of her race.
4
             102.   After being rejected by Google, Thomas was employed as a diversity recruiter at a
5
     professional search firm. In this role, Thomas observed Google's discriminatory hiring practices
6

7
     in operation. Thomas presented numerous qualified Black candidates to Google, but Google hired

8    none ofthem. The few Black candidates to even receive an interview with Google were

9    recommended to be "down leveled" and then rejected. Many of these Black candidates were also
10
     subjected to "cultural fit" interviews based on "lingering questions" about their candidacy due to
11
     their race.
12
             103.   As a result of Google's discrimination, Thomas has suffered considerable harm.
13
     Among other things, she has lost jobs and compensation, suffered emotional distress, and her
14

15   career and reputation have been irreparably harmed.

16                                       CLASS ALLEGATIONS


             104.   Plaintiffs bring this action on behalf of themselves and all others similarly situated
18
     as a class action pursuant to Rule 23 of the Federal Rules of Civil Procedure. Plaintiffs Curley,
19
     Mayon, Lewis, and Reid, seek to represent an employee class of;
20
                    All Black and/or African American United States Google employees who
21

22                  work or worked for Defendant as a Level 2 through Level 8 employee from
23                  March 18,2018 through the present.

24           105.   Plaintiffs Aweh and Thomas seek to represent a hiring class of:

25


26


                                             SECOND AMENDED
                                                COMPLAINT
                                                   -33 -
      Case3:22-cv-01735-AMO
     Case  3:22-cv-05246-RFL Document 43
                                      58 Filed 09/15/22
                                               12/07/23 Page 34
                                                             69 of 49
                                                                   84




1                   All Black and/or African Americans who applied to and were denied flill-

^                  time employment with Google in the United States.
3
            106.    Plaintiff Curley seeks to represent an employee class of:
4
                    All Black and/or African American Google employees in or based out of
5
                    New York who work or worked for Defendant as a Level 2 through Level
6

7
                    8 employee.

8           107.    Plaintiff Aweh seek to represent a hiring class of:

9                   All Black and/or African Americans who applied to a full-time job at
10
                    Google in or based out of New York or California and were denied
11
                    employment.
12
            108.    Plaintiff Lewis seeks to represent an employee class of:
13
                    All Black and/or African American Google employees who work or
14

25                  worked for Defendant in or based out of California as a Level 2 through

16                  Level 8 employee.

            109.    The classes of Black current and former employees and applicants are so
18
     numerous that joinder of all members is impracticable. Fed. R. Civ. P. 23(a)(1).
19
            110.    There are questions of law and fact common to the classes, and those questions can
20
     and should be resolved in a single proceeding that furthers this litigation. Fed. R. Civ. P.

22   23(a)(2).
23          111.    The claims alleged by Plaintiffs are typical ofthe claims of the classes. Fed. R.

24   Civ. P. 23(a)(3).
25

26


                                             SECOND AMENDED
                                                COMPLAINT
                                                   -34-
       Case 3:22-cv-01735-AMO
       Case 3:22-cv-05246-RFL Document
                              Document 58
                                       43 Filed
                                          Filed 12/07/23
                                                09/15/22 Page
                                                         Page 70
                                                              35 of
                                                                 of 84
                                                                    49




      classes. Fed. R. Civ. P. 23(a)(4).

             113.    The proposed classes meet the requirements for certification under Rule 23(b)(2)

      and/or Rule 23(b)(3). The questions oflaw and fact common to the members of the classes

      predominate over any questions affecting only individual members, and a elass action is superior

      to other available methods for the fair and efficient adjudication of the controversy. Fed. R. Civ.

8     P. 23(b)(3).

9            114.    Alternatively, the issues of determining liability and equitable relief are

      appropriate for issue certification under Rule 23(c)(4), as are other common issues.
11
                                                   COUNT I
12
                 RACE DISCRIMINATION AND HOSTILE WORK ENVIRONMENT
13                                  IN VIOLATION OF 42 U.S.C.§ 1981
                                      (Nationwide Class and Plaintiffs)
14
             115.    Plaintiffs, individually and on behalf of all others similarly situated, reallege the
15
      above paragraphs and incorporates them by reference as though fully stated herein as part of
16

Y-j   Count I ofthis Complaint.
18            116.   Under 42 U.S.C. § 1981, as amended, people of all races are guaranteed the same

19    right to make and enforce contracts, regardless of race. The term "make and enforce" contracts
20
      includes the making, performance, modification, and termination of contracts, and the enjoyment
21
      of all benefits, privileges, terms, and conditions of the contractual relationship.
22
              117.   Defendant maintained a nationwide set of uniform, intentionally discriminatory
23
      employment practices, engaged in a pattern or practice of systemic race discrimination against
24

25    Black employees and applicants, and created a racially hostile work environment, which

26    constitute illegal intentional race discrimination in violation of42 U.S.C. § 1981.

                                               SECOND AMENDED
                                                  COMPLAINT
                                                     -35-
        Case3:22-cv-01735-AMO
        Case 3:22-cv-05246-RFL Document
                               Document 58
                                        43 Filed
                                           Filed 12/07/23
                                                 09/15/22 Page
                                                          Page 71
                                                               36 of
                                                                  of 84
                                                                     49




 1               118.   Plaintiffs and all those similarly situated were subjected to and harmed by
2
       Defendant's systemic and individual discrimination.
 3
                                                     COUNT II
4
                                      RETALIATION IN VIOLATION OF
 5                                               42 U.S.C.§ 1981
                                  (Plaintiffs Curley, Mayon, Lewis, and Reid)
6 ■■
                 119.   Plaintiffs realleges each and every paragraph above and incorporates them by
 7
       reference as though fully stated herein.
 8

 g               120. Plaintiffs engaged in protected activity and suffered retaliation by Defendant in

10     violation of42 U.S.C. § 1981.

                 121.   Plaintiffs suffered barm as a result of Defendant's unlawful retaliation.

12
                                                    COUNT III

13
                    RACE DISCRIMINATION AND HOSTILE WORK ENVIRONMENT
14                        IN VIOLATION OF TITLE VII, 42 U.S.C.§ 2000e, et seq.
                          (Nationwide Class and Plaintiffs Mayon,Lewis and Aweh)
15

                 122.   Plaintiffs Mayon, Lewis and Aweb,on behalf of themselves and all others
16

Ij     similarly situated, reallege the above paragraphs and incorporates them by reference as though

18     fully stated herein as part of Count II of this Complaint.

                 123.   Plaintiff Mayon,Lewis, and Aweh fded a charge of race discrimination with the
20
       Equal Employment Opportunity Commission("EEOC"), which placed Defendant on notice of
21
       the representative allegations contained in this Complaint. Plaintiffs Mayon,Lewis, and Aweh
22
       have exhausted their administrative remedies and received their Notices of Right to Sue from the
23

24 EEOC and filed their individual and class Title VII claims within 90 days ofreceipt of such
25     notices

26


                                                  SECOND AMENDED
                                                     COMPLAINT
                                                        -36-
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document
                             Document 58
                                      43 Filed
                                         Filed 12/07/23
                                               09/15/22 Page 72
                                                             37 of 84
                                                                of 49




 1          124.    Title VII ofthe Civil Rights Act of 1964, as amended, makes it unlawful for an
2
     employer to discriminate against any individual in the terms, conditions, or privileges of
3
     employment on the basis ofrace, or to limit, segregate, or classify its employees or applicants for
4
     employment in any way which deprives or tends to deprive any individual of employment
5
     opportunities or otherwise adversely affect his or her status as an employee on the basis of race.
6

 y          125. By its conduct as alleged herein. Defendant unlawfully discriminated against

8    Mayon, Lewis, and Aweh and those similarly situated in violation of Title VII, under both

9    disparate treatment and disparate impact theories of liability.
10
            126.    Plaintiffs and other African Americans who work or worked for Google, or were
11
     denied employment with Google, were harmed by Defendant's conduct.
12
                                                 COUNT IV
13

                             SEX DISCRIMINATION IN VIOLATION OF
14
                                   TITLE VII,42 U.S.C.§ 2000e, etseq.
j5                                     (Plaintiff Mayon and Lewis)

16          127.    Plaintiffs Mayon and Lewis reallege each and every paragraph above and

17   incorporate them by reference as though fully stated herein.
18
            128.    Mayon and Lewis filed charges of sex discrimination with the EEOC, which
19
     placed Defendant on notice of the allegations contained in this Complaint. Plaintiffs Mayon and
20
     Lewis have exhausted their administrative remedies and received Notices of Right to Sue from
21

     the EEOC and filed their individual Title VII claims within 90 days of receipt of such notice.
22

23          129.    Title VII ofthe Civil Rights Act of 1964, as amended, makes it unlawful for an

24   employer to discriminate against any individual in the terms, conditions, or privileges of

     employment on the basis of sex, or to limit, segregate, or classify its employees or applicants for
26


                                             SECOND AMENDED
                                                COMPLAINT
                                                   -37-
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document 58 Filed 09/15/22
                             Document 43       12/07/23 Page 38
                                                             73 of 49
                                                                   84




 1   employment in any way which deprives or tends to deprive any individual of employment

     opportunities or otherwise adversely affect his or her status as an employee on the hasis of sex.

               130.   By its conduct as alleged herein, Defendant unlawfully discriminated against

     Mayon and Lewis in violation of Title VII.

               131.   Plaintiffs Mayon and Lewis were harmed by Defendant's conduct.

                                                  COUNT V


8                                  RETALIATION IN VIOLATION OF
                                    TITLE VII,42 U.S.C.§ 2000e, etseq.
9                                       (Plaintiff Mayon and Lewis)
10
               132.   Plaintiffs Mayon and Lewis reallege each and every paragraph above and
11
     incorporate them by reference as though fully stated herein.
12
               133.   Plaintiffs Mayon and Lewis engaged in protected activity by complaining to
13
     management of their unlawful treatment.
14

15             134.   Plaintiffs Mayon and Lewis suffered retaliation and materially adverse action

16   because oftheir protected activity, in violation of42 U.S.C. § 2000e-3(a), and were harmed as a

     result.

1R
                                                 COUNT VI
19
                 RACE DISCRIMINATION AND HOSTILE WORK ENVIRONMENT
20                      IN VIOLATION OF FEHA,Cal. Gov. Code §12940, et seq.
                          (California Class and Plaintiffs Mayon,Lewis & Aweh)
21

               135.   Plaintiffs Mayon, Lewis, and Aweh,on behalf of themselves and all others
22

23   similarly situated, reallege each and every paragraph above and incorporate them by reference as

24   though fully stated herein.

25

26


                                              SECOND AMENDED
                                                 COMPLAINT
                                                    -38-
      Case 3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document
                             Document 58
                                      43 Filed
                                         Filed 12/07/23
                                               09/15/22 Page
                                                        Page 74
                                                             39 of
                                                                of 84
                                                                   49




1            136.    California Government Code Section 12940(a) makes it an unlawful employment

     practice for an employer to discriminate against a person "in compensation or in terms,

     conditions, or privileges of employment" on the basis of race.

             137.    As set forth above, Google discriminated against Plaintiffs Mayon, Lewis and

     Aweh and all those similarly situated in the terms and conditions of their employment due to their

     race under both disparate treatment and disparate impact theories of liability. In doing so, Google

8    engaged in unlawful discrimination in violation of Government Code Section 12940(a).

9            138.    As a direct, foreseeable and proximate result of Defendant's conduct, Plaintiffs

     Mayon,Lewis and Aweh and all those similarly situated have incurred and will continue to incur
11
     damages in an amount to be proven at trial.
12
             139.    The actions alleged herein were done with malice, fraud, and oppression, and in
13
     reckless disregard of Plaintiffs', and all those similarly situated, rights, and are thus entitled to

15   recover punitive damages from Defendant.

16                                                COUNT VII


17                  SEX & DISABILITY DISCRIMINATION AND RETALIATION
..                     IN VIOLATION OF FEHA,Cal. Gov. Code §12940, et seq.
                                  (Plaintiffs Mayon & Lewis)
19
             140.    Plaintiffs Mayon and Lewis reallege each and every paragraph above and
20
     incorporate them by reference as though fully stated herein.
21

22           141. California Government Code Section 12940(a) makes it an unlawful employment
23   practice for an employer to discriminate against a person "in compensation or in terms,

24   conditions, or privileges of employment" on the basis of sex and disability.
25

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                                               SECOND AMENDED
                                                  COMPLAINT
                                                     -39-
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document 58 Filed 09/15/22
                             Document 43       12/07/23 Page 40
                                                             75 of 49
                                                                   84




1             142.   As set forth above, Google discriminated against Plaintiffs Mayon and Lewis in

^ the terms and conditions of their employment due to their sex and disability. In doing so, Google
3
     engaged in imlawful discrimination in violation of Government Code Section 12940(a).
4
              143.   As a direct, foreseeable and proximate result of Defendant's conduct. Plaintiffs
5
     Mayon and Lewis have incurred and will continue to incur damages in an amount to be proven at
6

     trial.
7

8             144.   The actions alleged herein were done with malice, fraud, and oppression, and in

9    reckless disregard of Plaintiffs' rights, and are thus entitled to recover punitive damages from

^^   Defendant.
11
                                                COUNT VIII
12
                     DISCRIMINATION AND RETALIATION IN VIOLATION OF
13                                    ADA,42 U.S.C.§ 12112, et seq.
                                        (Plaintiffs Mayon & Lewis)

              145.   Plaintiffs Mayon and Lewis reallege each and every paragraph above and
15

15   incorporate them by reference as though fully stated herein.

17            146.   Plaintiffs bring this Count under the Americans with Disabilities Act 42 U.S.C. §

     \2l\2,etseq.
19
              147.   Plaintiffs filed a Charges of Discrimination with the EEOC and have exhausted
20
     their administrative remedies.
21
              148.   Plaintiffs Mayon and Lewis were qualified individuals with a disability under the

22   ADA because they had been diagnosed with a qualified disability, which impacted one or more of
24   their major life functions such as work, and Defendant regarded them or perceived them as

25   having such impairment. 29 C.F.R. § 1630.2(1).
26


                                             SECOND AMENDED
                                                COMPLAINT
                                                   -40-
      Case
      Case3:22-cv-01735-AMO  Document 58
           3:22-cv-05246-RFL Document 43 Filed 12/07/23
                                               09/15/22 Page 41 of 49
                                                             76 of 84




     a reasonable accommodation, but Google refused to accommodate them.

            150.    Google discriminated and retaliated against Plaintiffs Mayon and Lewis by

     ignoring their doctors' orders, denying them an accommodation, subjecting them to increased

     scrutiny, unwarranted performance discipline, denied them compensation and advancement

     opportunities, and ultimately tenuinated Plaintiff Mayon's employment.

8           151.    As a direct and proximate result of Defendant's conduct. Plaintiffs Mayon and

9    Lewis have suffered damages.

                                                   COUNT IX

11
                    INTERFERENCE AND RETALIATION IN VIOLATION OF
12                                   FMLA,29 U.S.C.§ 2615, et seq.
                                         (Plaintiff Mayon)

            152.    Plaintiff Mayon realleges each and every paragraph above and incorporates them

25   by reference as though fully stated herein.

16          153.    The Family and Medical Leave Act of 1993 allows all eligible employees of

     employers with 50 or more employees to take up to 12 workweeks of unpaid,job-protected leave
18
     each year. 29 U.S.C. § 2612(a)(1)(A). Employers may not interfere with FMLA rights. 29
19
     U.S.C. § 2615(a). Pursuant to 29 U.S.C. § 2615(a)(2), it is unlawful for an employer to
20
     discriminate or retaliate against an employee who has taken FMLA leave.

22          154. Plaintiff was eligible for FMLA protections and Defendant was a qualified
23   employer for purposes of the FMLA.

24          155.    As alleged above. Defendants interfered with Mayon's protected medical leave
25
     and retaliated against her for taking protected medical leave.
26


                                            SECOND AMENDED
                                               COMPLAINT
                                                  -41 -
         Case3;22-cv-01735-AMO
         Case 3:22-cv-05246-RFL Document 58 Filed 12/07/23
                                Document 43       09/15/22 Page 42
                                                                77 of 84
                                                                   of 49




 1            156.    As a direct and proximate result of Defendant's conduct, Mayon has suffered
2
     damages.
3
                                                  COUNT X
4
                 RACE DISCRIMINATION AND HOSTILE WORK ENVIRONMENT
5                    IN VIOLATION OF NEW YORK STATE HUMAN RIGHTS LAW
                             (New York Class and Plaintiff Curley & Aweh)
6
              157.    Plaintiffs Curley and Aweh, individually and on behalf of all others similarly
7
     situated, reallege each and every paragraph above and incorporate them by reference as though
8

 g   fully stated herein.

10            158.    Google maintains a substantial corporate presence in New York. Google employs

1^   approximately 12,000 people, including Plaintiff Curley.

              159.    The New York State Human Rights Law ("NYSHRL"), NY Exec. Law § 290, et
13
     seq., establishes that it is unlawful, because of an individual's race,"to bar or to discharge from
14
     employment such individual or to discriminate against such individual in compensation or in

     terms, conditions or privileges of employment." N.Y. Exec. Law § 296(l)(a).

27            160.    As part of the recent class action lawsuit in New York state court, Haggan v.

18   Google, No 518739/2022(Sup. Ct. N.Y., Kings County) Google entered into a class-wide tolling

     agreement, effective from October 15, 2020, that tolled the NYSHRL and New York City Human
20
     Rights Law,N.Y.C. Admin. Code §§ 8-101 etseq.("NYCHRL")claims, among others, of all
21
     Black/African American Google employees in New York.'' Plaintiff Curley relies on this tolling
22
     agreement in this action.
23

24


25

26   6      Haggan v. Google LLC,No. 518739/2022(Sup. Ct. N.Y., Kings County, June 30, 2022), Dkt. 3 at 3.

                                              SECOND AMENDED
                                                 COMPLAINT
                                                    -42-
       Case3:22-cv-01735-AMO
       Case 3:22-cv-05246-RFL Document
                              Document 58
                                       43 Filed 12/07/23
                                                09/15/22 Page 43
                                                              78 of 84
                                                                 of 49




 1           161.    By its conduct as alleged herein, Defendant unlawfully discriminated against
2
      Curley and Aweh and those similarly situated in violation of NYSHRL,under both disparate
3
      treatment and disparate impact theories of liability.
4
             162.    Google maintained racially discriminatory employment practices and policies,
5
      including but not limited to hiring, pay,job assignment, promotion, and other practices that had a
6

 <7   disparate impact on Black employees who worked for Google in New York.

8             163.   Plaintiffs and all others similarly situated have suffered damages as a result of

9     Google's violation of the NYSHRL.
10
                                                    COUNT XI

11
            SEX AND SEXUAL ORIENTATION DISCRIMINATION IN VIOLATION OF
12                      NEW YORK STATE HUMAN RIGHTS LAW
                                               (Plaintiff Curley)
13
              164.   Plaintiff Curley realleges each and every paragraph above and incorporates them
14
      by reference as though fully stated herein.
15
              165.   Google maintains a substantial corporate presence in New York. Google employs
16

17    approximately 12,000 people, including Plaintiff Curley.

18            166.   The NYSHRL establishes that it is unlawful, because of an individual's sex or

      sexual orientation,"to bar or to discharge from employment such individual or to discriminate
20
      against such individual in compensation or in terms, conditions or privileges of employment.'
21
      N.Y. Exec. Law § 296(1)(a).
22
              167.   Google violated the NYSHRL by discharging Plaintiff, discriminating against her

24    in compensation and in terms, conditions, or privileges of employment, including by subjecting
25    her to a hostile work environment, because of her sex.

26


                                              SECOND AMENDED
                                                 COMPLAINT
                                                    -43 -
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document 58 Filed 09/15/22
                             Document 43       12/07/23 Page 44
                                                             79 of 49
                                                                   84




 1          168.    Google maintained discriminatory employment practices and policies, including

     but not limited to pay,job assignment, promotion, and other practices that had a disparate impact

     on female and queer employees who worked for Google in New York.

            169.    Plaintiff has suffered damages as a result of Google's violation ofthe NYSHRL.

                                               COUNT XII


                              RETALIATION IN VIOLATION OF
                            NEW YORK STATE HUMAN RIGHTS LAW
g                                           (Plaintiff Curley)
 p           170. Plaintiff Curley realleges each and every paragraph above and incorporates them
10   by reference as though fully stated herein.

11           171. Plaintiff engaged in protected activity and suffered retaliation by Defendant in

     violation of NYSHRL,N.Y. Exec. Law § 296(7).
13
            172.    Plaintiff suffered harm as a result of Defendant's unlawful retaliation.
14
                                               COUNT XHI
15
                RACE DISCRIMINATION AND HOSTILE WORK ENVIRONMENT
16                  IN VIOLATION OF NEW YORK CITY HUMAN RIGHTS LAW
                            (New York Class and Plaintiff Curley & Aweh)

             173.       Plaintiffs Curley and Aweh,individually and on behalf of all others similarly
1O

19   situated, reallege each and every paragraph above and incorporate them by reference as though

20   fully stated herein.

             174.    Google maintains a substantial corporate presence in New York. Google employs
22
     approximately 12,000 people, including Plaintiff Curley.
23
             175.    The NYCHRL,NYC Admin Code § 8-101, et seq., establishes that it is unlawful,
24
     because of an individual's race,"to bar or to discharge from employment such person," or to
25

26


                                            SECOND AMENDED
                                               COMPLAINT
                                                  -44-
      Case3:22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document 58 Filed 12/07/23
                             Document 43       09/15/22 Page 45
                                                             80 of 84
                                                                of 49




 1   "discriminate against such person in compensation or in terms, conditions or privileges of
2
     employment." NYC Admin Code § 8-107.
3
            176.    By its conduct as alleged herein, Defendant unlawfully discriminated against

     Curley and Aweh and those similarly situated in violation of NYCHRL,under both disparate

     treatment and disparate impact theories of liability.

             177.   Google maintained racially discriminatory employment practices and policies,

8    including but not limited to hiring, pay,job assignment, promotion, and other practices that had a

9    disparate impact on Black employees who worked for Google in New York.

             178.   Plaintiffs Curley and Aweh and all those similarly situated have suffered damages
11
     as a result of Google's violation of the NYCHRL.
12
                                                COUNT XIV
13
           SEX AND SEXUAL ORIENTATION DISCRIMINATION IN VIOLATION OF
14                            new YORK CITY HUMAN RIGHTS LAW
                                              (Plaintiff Curley)

             179.   Plaintiff Curley realleges each and every paragraph above and incorporates them

17   by reference as though fully stated herein.

18           180.   The NYCHRL,establishes that it is unlawful, because of an individual's sex or

     sexual orientation,"to bar or to discharge from employment such person," or to "discriminate
20
     against such person in compensation or in terms, conditions or privileges of emplo5mient." NYC
21
     Admin Code § 8-107.
22
             181.   Google violated the NYCHRL by discharging Plaintiff, discriminating against her

24   in compensation and in terms, conditions, or privileges of employment, including by creating a
25   hostile work environment, because of her sex and sexual orientation.

26


                                             SECOND AMENDED
                                                COMPLAINT
                                                      -45-
      Case3;22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document 58 Filed 09/15/22
                             Document 43       12/07/23 Page 46
                                                             81 of 84
                                                                of 49




 1          182.    Google maintained racially discriminatory employment practices and policies,

     including but not limited to pay,job assignment, promotion, and other practices that had a

     disparate impact on female and queer employees who worked for Google in New York.

            183.   Plaintiff has suffered damages as a result of Google's violation ofthe NYCHRL.

                                                COUNT XV


                               RETALIATION IN VIOLATION OF
                             NEW YORK CITY HUMAN RIGHTS LAW
 g                                          (Plaintiff Curley)
 p          184.       Plaintiff Curley realleges each and every paragraph above and incorporates

10   them by reference as though fully stated herein.

            185.    Google maintains a substantial corporate presence in New York. Google employs
12
     approximately 12,000 people, including Plaintiff Curley.
13
            186.    Plaintiff engaged in protected activity and suffered retaliation by Defendant in
14
     violation of NYCHRL,N.Y.C. Admin. Code § 8-107(7).
15

            187.    Plaintiff suffered harm as a result of Defendant's unlawful retaliation.
16

17                                       PRAYER FOR RELIEF


18          WHEREFORE,Plaintiffs, and all others similarly situated, respectfully request that this

     Court find against Defendant as follows:
20
            a.      Certify this case as a class action, including a disparate treatment and disparate
21
                    impact class of current and former Black or African American employees, and a
22
                    class of Black or African American applicants who were denied employment;

24          b.      Certify the New York and California employee and hiring subclasses as described
25                  above m 105-108);

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                                            SECOND AMENDED
                                               COMPLAINT
                                                  -46-
     Case3:22-cv-01735-AMO
     Case 3:22-cv-05246-RFL Document
                            Document 58
                                     43 Filed
                                        Filed 12/07/23
                                              09/15/22 Page 47
                                                            82 of 84
                                                               of 49




 1       c.    Designate Plaintiffs as Class Representatives and designate Plaintiffs' counsel of
2
               record as Class Counsel;

         d.    Declare that Defendant's acts, conduct, policies and practices are unlawful and

               violate 42 U.S.C. § 1981, Title VII, FEHA,NYSHRL,and NYCHRL;

         e.    Declare that Defendant engaged in unlawful race discrimination and retaliation

               against Plaintiffs, and order all appropriate relief;

         f.    Declare that Defendant engaged in unlawful sex and disability discrimination and

9              retaliation against Plaintiffs Mayon and Lewis, and order all appropriate relief;
10
         g.    Declare that Defendant engaged in unlawful sex and sexual orientation
11
               discrimination and retaliation against Plaintiff Curley, and order all appropriate
12
               relief;
13

         h.    Order Plaintiffs, and all others similarly situated, reinstated to their appropriate
14

j5             positions, promotions and seniority, and otherwise make Plaintiffs and all others

16             similarly situated whole;

         i.    Award Plaintiffs and all others similarly situated the value of all compensation and
18
               benefits lost and that they will lose in the future as a result of Defendant's
19
               unlawful conduct;
20
         j.    Award Plaintiffs and all others similarly situated compensatory and punitive
21

22             damages;
23       k.    Award Plaintiffs and all others similarly situated prejudgment interest and

24             attorneys' fees, costs and disbursements, as provided by law;

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                                        SECOND AMENDED
                                           COMPLAINT
                                              -47-
      Case3;22-cv-01735-AMO
      Case 3:22-cv-05246-RFL Document 58 Filed 09/15/22
                             Document 43       12/07/23 Page 48
                                                             83 of 49
                                                                   84




 1          1.     Award Plaintiffs and all others similarly situated such other make-whole equitable,

                   injunctive and legal relief as this Court deems just and proper to end the

                   discrimination and fairly compensate Plaintiffs and others similarly situated; and

            m.     Award Plaintiffs and all others similarly situated such other relief as this Court

                   deems just and proper.

                                   DEMAND FOR A JURY TRIAL


 8           Plaintiffs hereby demand a jury trial as provided by Rule 38(a) ofthe Federal Rules of

9     Civil Procedure and Civil Local Rule 3-6.

^^                                        Respectfully submitted on behalf of Plaintiff and those
                                          similarly situated,
11

JI2                                       Bv:     /s/Suzanne E. Bish
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                                          Suzanne E. Bish (pro hac vice)
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                                            SECOND AMENDED
                                               COMPLAINT
                                                  -48-
     Case3:22-cv-01735-AMO
     Case 3:22-cv-05246-RFL Document 58 Filed 09/15/22
                            Document 43       12/07/23 Page 49
                                                            84 of 49
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                                  SECOND AMENDED
                                     COMPLAINT
                                        -49-
